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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

         IN RE:                                         §       CHAPTER 11
                                                        §
         KRISJENN RANCH, LLC                            §       CASE NO. 20-50805-rbk
                                                        §
                                                        §
                    DEBTOR                              §          (Jointly Administered)

     DEBTORS’ THIRD AMENDED JOINT DISCLOSURE STATEMENT TO THIRD
     AMENDED SUBSTANTIVELY CONSOLIDATED PLAN OF REORGANIZATION

                                          INTRODUCTION

         KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and KrisJenn Ranch
  LLC, Series Pipeline Row (the “Debtors”) file this Debtors’ Third Amended Joint Disclosure
  Statement to their Third Amended Substantively Consolidated Plan of Reorganization.

          On April 27, 2020 (the “Petition Date”), Debtors filed a voluntary Petition under Chapter
  11 of the U.S. Bankruptcy Code. Since the Petition Date, the Debtors have continued to operate
  as Debtors in Possession pursuant to the provisions of sections 1107 and 1108 of the Bankruptcy
  Code.

         This Third Amended Disclosure Statement to Substantively Consolidated Plan of
  Reorganization (hereinafter "Disclosure Statement") has been prepared by the Debtors pursuant to
  Section 1125 of the Bankruptcy Code, which requires that creditors receive a written disclosure
  statement containing sufficient information about the Debtors to enable creditors to make an
  informed and intelligent decision regarding the Debtors’ Substantively Consolidated Plan of
  Reorganization (hereinafter "Plan" or “Plans”). Prior to the solicitation of your vote on the Plan,
  and as required by the Bankruptcy Code, the Bankruptcy Court has approved this Disclosure
  Statement as containing adequate information about the Debtors.

          In addition to this Disclosure Statement and accompanying Plan, you will also receive an
  order of the Court setting the hearing on the confirmation of the Plan and establishing deadlines
  for casting your vote or filing objections to confirmation. Mailing instructions are included in your
  Ballot. YOUR VOTE IS IMPORTANT. In order for each Plan to be accepted, at least two-thirds
  (2/3s) in amount and one-half (1/2) in number of the voting creditors in each class must
  affirmatively vote for each respective Plan. Even if all classes of claims accept the Plan of a
  particular Debtor, the Bankruptcy Court may refuse to confirm the Plan for that Debtor. Among
  other things, Section 1129 requires that the Plan be in the best interests of the creditors and other
  parties in interest, and generally requires that the holders of the claims not receive less than would
  otherwise be realized if the Debtor was liquidated under Chapter 7 of the Bankruptcy Code.
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          In appropriate circumstances, the Bankruptcy Court may confirm a Plan even though less
  than all of the classes of claims accept the Plan. The circumstances warranting confirmation
  notwithstanding the vote of a dissenting class or classes of creditors are set forth in Section 1129(b)
  of the Bankruptcy Code. Except as otherwise provided in the Plan, the Order of Confirmation, or
  Section 1141(d), confirmation of the Plan will discharge the Debtor from all of its debts.
  Confirmation makes the Plan binding on the Debtor and all of its creditors, regardless of whether
  or not they have accepted the Plan.

         The Plan proposes to substantially consolidate the assets and liabilities of all three Debtors
  into KrisJenn Ranch, LLC as further discussed below. The plan shall serve as a motion for the
  substantive consolidation.

         The Debtors

         1. General

          KrisJenn Ranch, LLC is a Texas limited liability company with two series. The first series
  is KrisJenn Ranch, LLC Series Uvalde Ranch (“Series Uvalde) and the second is KrisJenn Ranch,
  LLC Series Pipeline Row (“Series Pipeline”). Series Pipeline owns a pipeline and right of way
  (respectively, the “Pipeline” and “ROW” and collectively the “Express Pipeline”). Additionally,
  Series Uvalde owns the KrisJenn Ranch (the “Ranch”) located at 6048 CR 365, Uvalde, Texas
  78801. The Express Pipeline and the Ranch were each encumbered by a $5.9 million loan from
  Mcleod Oil (“Mcleod”) related to an investment in a pipeline and its right of way.

         Mcleod claims the Debtors defaulted on the loan in February 2020. Debtors filed a
  voluntary Petition under Chapter 11 of the U.S. Bankruptcy Code on April 27, 2020.

          The ownership and rights in the Express Pipeline were hotly disputed, causing the Debtors
  to file Adversary Case Number 20-05027 to determine the rights in the Express Pipeline
  immediately after filing the bankruptcy case. DMA Properties, Inc. (“DMA”) and Longbranch
  Energy, LP (“Longbranch”) countersued Debtors in the adversary seeking monetary damages
  related to the Express Pipeline and a declaration of their rights in the Express Pipeline. DMA also
  sought a declaration that it had a 50% interest in a promissory note owned by KrisJenn Ranch,
  LLC (the “Bigfoot Note”). Daniel Moore joined the case as a third-party plaintiff seeking breach
  of fiduciary duty damages against Larry Wright who was added as a third-party defendant.
  Subsequent to the adversary filing, DMA and Borders filed an Amended Motion to Sever or
  Dismiss on April 29, 2020, seeking to split the joint filing into three separate bankruptcy filings.
  The motion to sever was granted on June 5, 2020—splitting the joint bankruptcy filing into the
  three separate cases.

           After a several-day bench trial, the Court made numerous findings related to the claims. In
  its final judgment, the Court awarded Debtors declaratory relief regarding the net-profit interests
  and classifying Longbranch, and DMA’s Assignment Agreements in the Express Pipeline as




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  personal covenants. The Court rendered Moore would take nothing regarding his breach of
  fiduciary duty claim against Wright. The court granted DMA a declaratory judgment in an
  ownership interest in 50% of the Bigfoot Note payments, as well as $175,143.60 from the court
  registry plus attorney’s fees if DMA tendered the proper requests. Subsequently the Court awarded
  $100,000 in attorney fees to DMA. The Court’s ruling on these issues are under appeal. There
  are enough funds in the Court’s registry to pay all but approximately $47,000 of the amount owed
  to DMA.

          On or about September 9, 2021, KrisJenn Ranch, LLC Series Uvalde Ranch sold the ranch
  and all cattle and FF&E in the sale for $7.45 million. After costs of sale, property taxes, and paying
  Mcleod Oil $6.43 million, the funds remaining in the estate were $893,938. Of this amount,
  Mcleod Oil contended it was entitled to approximately $750,000. Debtors contended Mcleod Oil
  was owed at most $100,000. The Parties agreed to settle the dispute for $385,000 paid from
  Debtors and 165 acres of mineral rights paid from Larry Wright which will be further outlined in
  a to be filed motion with the Court to approve the agreement.

         Debtors’ remaining assets are as follows:

         Krisjenn Ranch, LLC

                 1) Thunder Rock Holdings - $699,000

         Krisjenn Ranch, LLC Series Uvalde Ranch

                 1) $893,938

         Krisjenn Ranch, LLC Series Pipeline ROW

                 1) Pipeline ROW $6,000,000

         The Plan Proponents

         The Debtors are the Plan Proponents in this case.

         The Disclosure Statement

          Pursuant to Section 1125(b) of the Bankruptcy Code (Title 11 of the United States Code,
  hereinafter referenced as 11 U.S.C. section number), a precondition to solicitation of acceptances
  and rejections of a Plan of Reorganization from holders of claims or interests in the bankruptcy
  estate is that the holders be furnished with a copy of the Plan or a summary of the Plan and a
  written Disclosure Statement which contains "adequate information".

  "Adequate information" means:

                 information of a kind, and in sufficient detail, as far as is reasonably




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                 practicable in light of the nature and history of the Debtors and the
                 condition of the Debtors’ books and records, that would enable a
                 hypothetical reasonable investor typical of holders of claims or
                 interests of the relevant class to make an informed judgment about
                 the Plan, but adequate information need not include such
                 information about any other possible or proposed Plan.
  11 U.S.C. 1125(a)(1).

          Whether or not a disclosure statement contains adequate information is determined by the
  Court upon notice and hearing. 11 U.S.C. § 1125(b). All parties in interest may participate in this
  determination. After the disclosure statement is approved by the Court, a hearing will be set on
  confirmation of the Plan and a Plan package which includes copies of the Order Approving
  Disclosure Statement, Plan, this Disclosure Statement and Ballot will be sent to the parties entitled
  to vote on the Plan.

         Chapter 11

           Chapter 11 is a portion of the Bankruptcy Code which provides a business with protection
  from their creditors while it seeks to reorganize their business affairs, including the repayment of
  their debts. The terms of the proposed reorganization are embodied in a Plan of Reorganization.
  While the Bankruptcy Code gives the Debtors many aids in the reorganization of their financial
  affairs, these aids are balanced with rights and protections afforded to creditors. Confirmation of
  a Plan of Reorganization is the objective of the Debtors in a Chapter 11 Reorganization Case.
  Performance of the confirmed Plan is the objective of the Debtors. The Plan is the terms by which
  the claims against and interests of the Debtors are satisfied.

         The Process of Confirmation

         1. Hearing on Confirmation. Confirmation of a Plan is simply approval by the Court.
            This approval is sought by the Plan proponent at the hearing on confirmation. In order
            to obtain approval of the Court, the Plan proponent must show that the Plan meets all
            requirements for confirmation.

         2. Requirements for Confirmation. The requirements for confirmation are listed in 11
            U.S.C. § 1129(a). These requirements are part of the balancing of rights and aids
            between the Debtors and its creditors. Certain of the requirements for confirmation
            necessitate the solicitation of ballots from the holders of claims against and interests in
            the Debtors indicating either their acceptance or rejection of the Plan. Section 1129(a)
            does not require that each and every holder of a claim against or interest in the Debtors
            vote to accept the Plan in order for it to be confirmed by the Court. First, only those
            holding claims or interests which are in classes which are impaired are entitled to vote.
            Impairment is defined in 11 U.S.C. § 1124.

             Impairment basically means an alteration of the legal, equitable or contractual rights of
             the holder of the claim or interest. The Plan proponents must assert in the Disclosure



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              Statement whether or not each class is deemed by them to be impaired. The proponents'
              conclusion may be disputed by a creditor and the dispute resolved by the Court. If a
              Plan impairs or changes the rights of any creditor, it must be accepted by at least one
              Class of impaired claims. Second, only those ballots that are properly completed and
              timely delivered are counted. Third, of those voting in each class, only a majority of
              the claims in number and at least two-thirds (2/3) in amount are needed for the
              acceptance of the Plan by that class.

              Even if all Classes of claims and interests accept the Plan, its confirmation may be
              denied by the Bankruptcy Court for the failure to meet some other requirement of
              Section 1129 of the Bankruptcy Code. Among those requirements is one that the Plan
              is in the best interest of claim holders and interest holders. That generally requires that
              the value to be distributed to claimholders and interest holders may not be less than
              such parties would receive if the Debtors were liquidating under Chapter 7 of the Code.

         3. Cramdown: The Court may confirm a Plan even though a class of claims or interest
            holders rejects the Plan. Confirmation of a Plan over the rejection by one or more
            classes of claims or interests is generally referred to as "cram down." In order for the
            Plan to be confirmed in spite of the rejection by a class of claims or interests, the
            proponent of the Plan must show that the Plan does not discriminate unfairly and is fair
            and equitable with respect to each class of claims or interests that is impaired and has
            not accepted the Plan.

         Section 1129(b)(2) provides that the following standards are among the issues to be
  considered in determining whether the Plan is "fair and equitable" with respect to a particular class:

           Secured Claims. The Plan is fair and equitable with respect to each class of secured claims
  if it provides that either:

          1.      The holders are to retain their lien, whether the collateral is retained by the Debtors
  or transferred to another entity, to the extent of the allowed amount of their secured claim, and are
  to receive deferred cash payments totaling not less than the allowed amount of their claims and
  having a present value of not less than the value of the collateral or, in the alternative, secured
  creditors must receive their collateral in satisfaction of new secured claims.

         2.       The collateral is to be sold in a sale permitting the holder to "bid in" free and clear
  of holder's lien, with such lien to attach to the proceeds of such sale, and the treatment of the lien
  on such proceeds under either clause (1) or (3) hereof; or

         3.      The holders are to receive the "indubitable equivalent" of their claims.

         Unsecured Claims. The fair and equitable requirement in the context of a class of
  unsecured claims requires that either:




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        1.       The holders are to receive property with a present value equal to the allowed
  amount of their claims; or

         2.      No holders in a class junior to the rejecting class are to receive any property.

                                   I.      REPRESENTATIONS

         The statements contained in this Disclosure Statement are made as of the date of this
  Disclosure Statement unless another time is specified. Except as stated herein, no other
  representations concerning the Debtors, its business operations, the value of its property, or the
  value of any benefits offered to you in the Plan are authorized. ANY REPRESENTATIONS OR
  INDUCEMENTS WHICH ARE CONTRARY TO THE INFORMATION CONTAINED IN
  THIS DISCLOSURE STATEMENT SHOULD NOT BE RELIED UPON BY YOU IN
  ARRIVING AT YOUR DECISION, and such representations or inducements and their origin
  should be immediately reported to Ronald J. Smeberg, The Smeberg Law Firm Counsel for the
  Debtors, 4 Imperial Oaks, San Antonio, Texas 78248; Telephone: (210) 695-6684.

        THE DEBTORS AND THEIR COUNSEL HAVE MADE EVERY EFFORT TO
  ENSURE THAT THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT
  IS ACCURATE. WE CANNOT, HOWEVER, WARRANT THAT ALL OF THE DATA IS
  COMPLETELY ACCURATE, THOUGH WE FEEL IT IS MATERIALLY ACCURATE TO
  OUR BEST KNOWLEDGE, INFORMATION AND BELIEF. THE INFORMATION IN THIS
  DISCLOSURE STATEMENT HAS NOT BEEN SUBJECT TO AN INDEPENDENT AUDIT,
  AND FINANCIAL INFORMATION HAS BEEN BASED UPON OUR INTERNAL RECORDS.
  IF ANY STATEMENTS OF FINANCIAL MATTERS WERE MADE BY THIRD-PARTY
  ACCOUNTING PROFESSIONALS ACCOMPANY THIS DISCLOSURE STATEMENT,
  THEY WILL CONTAIN A DISCLAIMER REQUIRED OF UNAUDITED FINANCIAL
  INFORMATION. FURTHER, YOU SHOULD NOT CONSTRUE THE BANKRUPTCY
  COURT'S APPROVAL OF THIS DISCLOSURE STATEMENT AS AN ENDORSEMENT OF
  THE PLAN OR A GUARANTY OF THE ACCURACY OR COMPLETENESS OF THE
  INFORMATION PRESENTED HEREIN.

          The Debtors have expended considerable time in devising a Plan which they believe to be
  financially feasible and fair to their creditors. Consequently, the Debtors urge you to vote for
  acceptance of the Plan.

                   II.     INFORMATION CONCERNING THE DEBTORS

  A.     Results of Operations as Debtors in Possession

          The Debtors have continued to successfully operate their business and pay their post-
  petition plan obligations.




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  B.      Estimated Future Income and Expenses

          The Debtors have attached, as Exhibit “B”, a proforma they have prepared that shows
  projections for the sale of assets and repayment of 100% of their debts to creditors.

          The Debtors’ pro-forma financial statement attached as Exhibit “B” accurately and fairly
  project the Debtors’ future income and expenses.

  C.      Future Management of the Debtor

         The Debtors will continue to manage their financial affairs as they did prior to the
  bankruptcy filing as a part of their respective Plans of Reorganization. The Debtors will be able
  to make lump sum or monthly plan payments with money generated by operations and the sale of
  the Ranch and/or Pipeline.

  D.      Summary of the Plan

         The remaining Ranch proceeds shall be used to pay the Mcleod debt, all unsecured debt
  and the administrative expenses of the bankruptcy.

                     III.    ANALYSIS AND VALUATION OF PROPERTY

  A.      Real and Personal Property

        The Debtors have attached Exhibits “C1 – C3” which are each respective Debtor’s
  Schedule A/B – Real and Personal Property filed by the Debtors with the Court.

  B.      Liquidation Analysis

          Debtors’ value is in their ability sell assts and to operate and generate cash flow.        A
  liquidation analysis is attached as Exhibit A hereto.

                     IV.     SUMMARY OF PLAN OF REORGANIZATION

       A. Substantive Consolidation

          (a) Generally

          The Plan proposes to substantially consolidate the assets and liabilities of all three Debtors
  into KrisJenn Ranch, LLC. The Debtors and their respective Estates shall be substantively
  consolidated for all purposes under the Plan into KrisJenn Ranch, LLC. As a result of the
  substantive consolidation, (a) all Intercompany Claims by and among the Debtors (including such
  Claims arising from rejection of an executory contract), will be eliminated; (b) any obligation of
  any of the Debtors and all guarantees thereof executed by any of the Debtors will be deemed to be
  an obligation of each of KrisJenn Ranch, LLC; (c) any Claim filed or asserted against any of the
  Debtors will be deemed a Claim against KrisJenn Ranch, LLC; (d) any Interest in any of the




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  Debtors will be deemed an Interest in KrisJenn Ranch, LLC; and (e) for purposes of determining
  the availability of the right of setoff under section 553 of the Bankruptcy Code, the Debtors will
  be treated as one entity, KrisJenn Ranch, LLC, so that (subject to the other provisions of section
  553 of the Bankruptcy Code) debts due to any of the Debtors may be offset against the debts owed
  by any of the Debtors. The substantive consolidation contemplated by this section shall not affect
  or impair any valid, perfected and unavoidable Lien to which the assets of any Debtor is subject
  in the absence of substantive consolidation under the Plan, provided, however, it shall not cause
  any such Lien to secure any Claim which such Lien would not otherwise secure absent such
  substantive consolidation.

          On the Effective Date, except as otherwise provided in the Plan, all Claims based on
  guarantees of collection, payment, or performance made by any Debtor concerning the obligations
  of another Debtor shall be discharged, released, and without any further force or effect.
  Additionally, holders of Allowed Claims or Allowed Interests who assert identical Claims against
  or Interests in multiple Debtors shall be entitled to a single satisfaction of such Claims or Interests
  from KrisJenn Ranch, LLC.

      Further, on the Effective Date, the Reorganized Debtor, KrisJenn Ranch, LLC is authorized to
  execute all documents necessary to title all assets previously held by Series Uvalde Ranch or Series
  Pipeline Row into KrisJenn Ranch, LLC. KrisJenn Ranch, LLC is further authorized to wind up
  the affairs and file all necessary documents with the Texas Secretary of State and other
  governmental organizations to dissolve both series.

         (b) Justification

         (i)     Facts Justifying Substantive Consolidation


          KrisJenn Ranch, LLC and its series have never operated as separate entities. By way of
  example, they have never filed separate tax returns. Additionally, KrisJenn Ranch, LLC is the
  only entity known to the world save for its primary secured lender Mcleod Oil. In regard to the
  Ranch that was “owned” by KrisJenn Ranch, LLC series Uvalde Ranch, none of the vendors who
  supplied the ranch had ever even heard of the series and always thought they were doing business
  with KrisJenn Ranch, LLC. LongBranch Energy, LP, which initiated suit against KrisJenn Ranch,
  LLC regarding the pipeline, only sued the KrisJenn Ranch, LLC because it did not know about
  either series. When DMA Properties, Inc., which was owned by. Frank Daniel Moore, entered the
  pipeline fray, it sued Larry Wright, KrisJenn Ranch, LLC, and KrisJenn Ranch, LLC series Uvalde
  Ranch. DMA sued everyone but the “owner” of the pipeline, KrisJenn Ranch, LLC Pipeline Row.
  In forming the series, all the funds to form, operate, and maintain the series came from KrisJenn
  Ranch, LLC. The only name ever listed on the sole bank account was KrisJenn Ranch, LLC.
  Simply put, KrisJenn and its series never functioned as separate entities. Further, Larry Wright,
  KrisJenn’s manager, never intended for them to function as separate entities. Most importantly,
  the vast majority of Debt in this case, the Mcleod Debt, is borne by all three entities.

         (ii)    Legal Argument Justifying Substantive Consolidation




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          Substantive Consolidation is appropriate in this case because: (1) KrisJenn’s creditors dealt
  with the separate legal entities as a single economic unit and did not rely on their separate identity;
  and (2) the affairs of KrisJenn are so entangled with its series that consolidation will benefit all
  creditors.

          Further, substantive consolidation is appropriate because: (1) there is some difficulty in
  segregating and ascertaining individual assets and liabilities of the KrisJenn Parties; (2) any
  financial statements KrisJenn and its series are consolidated; (3) there was commingling of assets
  and business functions between KrisJenn and its series; (4) there is unity of interests and ownership
  between the various corporate entities; (5) parent and inter-series guarantees on loans between
  KrisJenn and its series exists; and (6) KrisJenn and its series have transferred assets without formal
  observance of corporate formalities.

           In addition— should the Court find KrisJenn and its series are separate entities that cannot
  file jointly—KrisJenn can show that there is identity between the entities to be consolidated, and
  the consolidation is necessary in order to prevent harm or prejudice, or to effect a benefit generally.

         Therefore, substantive consolidation is appropriate under both the Traditional Test and the
  Balancing Test laid out by this Court in In re Introgen Therapeutics, Inc., 429 B.R. 570 (Bankr.
  W.D. Tex. 2010).

         (c) Order Granting Substantive Consolidation

         The Plan shall serve as a motion seeking entry of an order substantively consolidating
  the Cases, as described and to the extent set forth herein. Unless an objection to such
  substantive consolidation is made in writing by any creditor affected by the Plan as herein
  provided on or before five (5) days prior to the Voting Deadline, or such other date as may
  be fixed by the Court, an order approving the substantive consolidation described herein
  (which may be in the Confirmation Order) may be entered by the Court. However, an order
  shall only be entered if the Bankruptcy Court enters the Confirmation Order. In the event
  any such objections are timely filed, a hearing with respect thereto shall occur at the
  Confirmation Hearing.

     B. Administrative Expenses

          Administrative Expenses: Although not classified, the professionals who have provided
  services to the Debtors during the pendency of this Chapter 11 case are entitled to administrative
  claim treatment. These claims do not include other administration priority claims allowed under
  11 U.S.C. § 503. Those will be paid in the ordinary course as priority claims under 11 U.S.C. §




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 507(a) but to the extent they may not be paid in the ordinary course of business they are listed here.
 The estimated amount of such claims is as follows:

                Smeberg Law Firm, PLLC (Attorneys)                             $32,000

                CJ Muller & Associates                                         $190,000

                US Trustee                                                     $3,000

                Douglas Deffenbaugh CPA                                        $5,000

                Total Estimated Admin Claims                                   $230,000

                [This estimate is subject to revision; no claim for administrative claims can be paid
                absent Court approval.]

        The amount of the professional fees disclosed above is an approximate amount. It is
 unknown at this time exactly how much money will be incurred in professional fees in this Chapter
 11 case. A final determination cannot be made until such time as the case is closed as to reasonable
 professional fees for the provision of whatever services become necessary in this Chapter 11 case.
 Any other allowed costs and expenses of administration of the Debtors’ Chapter 11 bankruptcy
 cases will also be entitled to administrative treatment. These will be paid in full at confirmation,
 less any retainers already received, after approval by the Court of said fees. The anticipated
 administrative expenses of the Debtors are moderate for a case of this size.

         All claims for administrative expenses shall be filed with the Court within 60 days of the
 Effective Date.

        Reorganized Debtors shall pay all accrued U.S. Trustee fees on the Effective Date and
 continue paying all U.S. Trustee fees as required by 1129(a)(12) until an order is entered closing the
 case.

    C. Classification and Treatment of Governmental Claims

                1. Unsecured Priority Claims of the Comptroller of Public Accounts and Internal
                   Revenue Service: The Texas Comptroller of Public Accounts and IRS were
                   provided notice of the bankruptcy filings but did not file claims. If the
                   Comptroller or IRS were to file allowed claims, those claims would be paid in
                   accordance with the Bankruptcy Code.

                2. Secured Taxing Authority Claims:

                           B.                         a.     Uvalde County Tax Office. The
                    Uvalde County Tax Office filed a claim for $6,451.48 in case number 20-50805.




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                However, the claim should have been filed in case number 20-51083, KrisJenn
                Ranch, LLC Series Uvalde Ranch. The

                claim was previously paid in conjunction with sale of the Ranch. To the extent
                any amount remains, it will be paid on the Effective Date. Uvalde County Tax
                Office shall retain all its liens until paid.

                 c. Nacogdoches County filed a claim for $354.60 in case number 20-51083.
                This claim shall be paid in full on the Effective Date. Nacogdoches County
                shall retain all its liens until paid.

                d. Angelina County filed a claim for $2,198.21 in case number 20-50805.
                However, the claim should have been filed in case number 20-51084, KrisJenn
                Ranch, LLC Series Pipeline Row. Angelina County shall retain all its liens
                until paid. This claim shall be paid in full on the Effective Date.

                e. Shelby County filed a claim for $496.67 in case number 20-50805.
                However, the claim should have been filed in case number 20-51084, KrisJenn
                Ranch, LLC Series Pipeline Row. The claim shall be paid in full at on the
                Effective Date. Shelby County shall retain all its liens until paid.

                f. Except as otherwise stated, all Ad Valorem taxes will be paid in full in equal
                monthly instalments at the statutory rate of interest within 60 months of the
                petition filing date, with the first payment being made on the first day of the
                first month following 30 days after the Plan’s Effective Date. Post-petition
                interest at the rate of twelve percent (12%) per annum shall accrue beginning
                from the Petition Date until the confirmation date. Thereafter, plan interest at
                the rate of twelve percent (12%) per annum shall accrue on the entire balance
                until the tax debt is paid in full. Debtors shall make separate payments on each
                account consistent with separate amortization schedules provided to the
                Debtor. Each separate payment which will be applied pro rata to the various
                tax accounts indicated above. In the event a Debtor sells, conveys or transfers
                any property which is collateral of a property tax claim or post confirmation tax
                debt, the Debtor shall remit such sales proceeds first to the applicable property
                taxing entity to be applied to the respective tax debt incident to any such
                property/tax account sold, conveyed or transferred. A Debtor may pre-pay the
                pre-petition tax debt to any of the ad valorem taxing entities at any time. The
                Debtor shall have thirty (30) days from the Effective Date to object to the any
                property tax claim; otherwise, such claim is deemed as an allowed secured
                claim in the amount of its Proof of Claim consistent with the treatment of each
                tax account under this Plan. The taxing entity shall retain its statutory lien
                securing their pre-petition and post-petition tax debts until such time as the tax
                debts are paid in full. Debtor shall pay all post-petition ad valorem tax
                liabilities (tax year 2019 and subsequent tax years) owing to the taxing entity in
                the ordinary course of business as such tax debts come due and prior to said ad



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                       valorem taxes becoming delinquent without need of any ad valorem taxing
                       entity filing an administrative claim and request for payment. Should Debtors
                       fail to make any payments as required in its respective Plan, the taxing entity
                       shall provide written notice of that default by sending written notice by certified
                       mail to Debtor’s counsel advising of that default, and providing the Debtor with
                       a period of fifteen (15) days to cure the default. In the event the default is not
                       cured within fifteen (15) days, the taxing entity may, without further order of
                       this Court or notice to the Debtor, pursue all of their rights and remedies
                       available to them under the Texas Property Tax Code to collect the full amount
                       of all taxes, penalties and interest owed. Additionally, the failure to timely pay
                       post-petition and/or post-confirmation taxes while the Debtor are still paying
                       any pre-petition debt, shall be considered an event of default. A Debtor shall
                       be entitled to no more than three (3) Notices of Default. In the event of a fourth
                       (4th) default, the taxing entity may pursue all rights and remedies available to
                       it under the Texas Property Tax Code in state district court without further order
                       of this court or further notice to the Debtors.

     D. McLeod Class 1 Claim in all Three Debtor Cases

          1. Class 1 Claims

         Class 1 is the impaired secured claim of Mcleod Oil filed in the amount of $6,260,196.08
 filed in all three Debtors cases. Duplicate Claims 2,3,4 and 5 in 20-51084, Claim 6 in 20-50805,
 and Claims 2 in 20-5103. The majority of this claim was satisfied upon sale of the Ranch. Debtor
 has agreed to settle this claim for $385,0001. The Claim shall be paid on the Effective Date in
 accordance with the Parties’ settlement agreement to be filed with the Court.

                  i. Mcleod shall maintain all of its liens until it is paid its allowed claim except as
                     provided herein. Mcleod will vote on the plan as an impaired creditor.

     E. DMA and Frank Daniel Moore Claims

         1. Class 2 Claims:

             i.      Class 2 are the claims of DMA Properties, Inc. and Frank Daniel Moore
                     (“DMA”). Claim 5 in 20-50805, Claims 1 and 3 in 20-51083, and Claims 1 and
                     6 in 20-51084.
            ii.      DMA filed in all three cases and also filed as counterclaims in the adversary case 20-
                     05027 claims related to Bigfoot Energy. The Court awarded damages and attorney’s
                     feeswith a remaining balance of approximately $47,000. Within 10 days of the effective
                     date, DMA shall file an accounting of what it believes it is still owed pursuant to the
                     Court’s judgment. If DMA fails to file the accounting, its claim shall be deemed

 1 Larry Wright and Gwen Wright are also parties to the settlement transferring 165 acres of their personal mineral
 rights as consideration.




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                $47,000, and it shall be paid this amount within 30 days of the Effective date. If the
                accounting is timely filed, Reorganized Debtor shall have 10 days to file an objection
                with the Court, otherwise the accounting filed by DMA shall be the allowed claim, which
                shall then be paid within 30 days of the Effective date. If the Reorganized Debtor files
                an objection to the accounting, the Claim shall be paid within 30 days of entry of a final,
                unappealable order on the objection. DMA and Frank Daniel Moore are unimpaired
                and will not vote on the plan.
         iii.

    F. Other Claims

       1. Class 3 Claims:

         i.     Class 3 is the joint claim of DMA Properties, Inc. (“DMA”) and Longbranch
                Energy, LP (“Longbranch”). Claim 7 in 20-50805.

          ii.   DMA and Longbranch filed one joint claim related to the adversary action
                claiming an interest in the Express Pipeline (as defined in the Disclosure
                Statement) and other miscellaneous relief, these claims were all denied through
                the trial and are subject to an appeal. As a result, these claims are being disallowed
                in their entirety pursuant to the Court’s judgment in case 20-05027 and will not
                receive any distribution under the Plan. However, if through the appeals process,
                DMA and Longbranch are ultimately determined to have an interest in the Express
                Pipeline, and in the event the Reorganized Debtor sold or otherwise disposed of
                the Express Pipeline during the pendency of the appeal, the value of that interest
                shall attached solely to the net profits obtained by the Reorganized Debtor from
                the sale or operation of the Express Pipe line after deducting all expenses incurred
                by the Debtor in any way related to the Express Pipe Line, including but not limited
                to, the cost of 1) purchasing the Express Pipeline, 2) maintaining the Express
                Pipeline, 3) insurance, 4) professional fees, 5) interest, 6) and developing the
                Express Pipeline.

         iii.   To the extent Longbranch or DMA have filed or claimed liens encumbering any
                of Debtors’ property, including but not limited to the Express Pipeline, those liens




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                  are void and Debtors may file a copy of the confirmed Plan and Confirmation order
                  with federal, state or local government evidencing the liens have been voided.

         iv.      Class 3 is unimpaired and does not vote on the plans.

       2. Class 4 Claims:

                i. Class 4 are the claims of Longbranch Energy, LP (“Longbranch”). Claim 4 in
                   20-51083 and Claim 8 in 20-51084.

               ii. Longbranch filed claims related to the adversary action claiming an interest in the
                   Express Pipeline (as defined in the Disclosure Statement) and other
                   miscellaneous relief, these claims were all denied through the trial and are subject
                   to an appeal. As a result, these claims are being disallowed in their entirety
                   pursuant to the Court’s judgment in case 20-05027 and will not receive any
                   distribution under the Plan. However, if through the appeals process, Longbranch
                   is ultimately determined to have an interest in the Express Pipeline, and in the
                   event the Reorganized Debtor sold or otherwise disposed of the Express Pipeline
                   during the pendency of the appeal, the value of that interest shall attached solely
                   to the net profits obtained by the Reorganized Debtor from the sale or operation
                   of the Express Pipe line after deducting all expenses incurred by the Debtor in
                   any way related to the Express Pipe Line, including but not limited to, the cost of
                   1) purchasing the Express Pipeline, 2) maintaining the Express Pipeline, 3)
                   insurance, 4) professional fees, 5) interest, 6) and developing the Express
                   Pipeline.

               iii. To the extent Longbranch has filed or claimed liens encumbering any of Debtors’
                    property, including but not limited to the Express Pipeline, those liens are void
                    and Debtors may file a copy of the confirmed Plan and Confirmation order with
                    federal, state or local government evidencing the liens have been voided.Class 4
                    is unimpaired and does not vote on the plans.

       3. Class 5 Claims:

                i. Class 5 is the impaired general unsecured creditor claims. This Class contains
                   the Claim of Davis, Cedillo & Mendoza, Inc. (“Cedillo”) in the amount of $2,945
                   (filed as Claim 6 in 20-51084).

               ii. The Class 5 claims shall be paid their allowed claimwithin 120 days of the
                   effective date. Cedillo shall vote on the plan.

       4. Class 6 Claims:

                i. Class 6 are the impaired, general unsecured administrative convenience claims
                   scheduled at $1,000 or less. These claims were all scheduled in Case 20-50805,




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                  but none of the creditors filed claims in any of the Debtors’ cases. The claimants
                  are as follows:

                    1. C & W Fuels - $1.00

                    2. Granstaff Gaedke & Edgmon PC - $1.00

                    3. Hopper's Soft Water Service - $100.00

                    4. Medina Electric - $1.00

                    5. Texas Farm Store - $1.00

                    6. Uvalco Supply - $1.00


              ii. The Class 6 claims shall be paid in full on the Effective Date. They are
                  unimpaired and shall not vote on the plan

        5. Class 7 Claims:

            i. Class 7 claim is the general unsecured claim of insider Larry Wright. This claim
               was scheduled in Case 20-50805 in the amount of $648,209. Additionally, Larry
               Wright loaned $129,446 to the Company.

            ii. The Class 7 claim shall be subordinated to all other claims in the bankruptcy except
                equity claims. The claim shall be paid in 120 equal monthly installments beginning
                the 5th year anniversary of the Effective Date with interest at the judgment rate of
                interest in effect on the Effective Date. The claim is deemed unimpaired and shall
                not vote on the plan

        6. Class 8 Claims:

              i. Class 8 claims are the claims of Debtors’ equity holders. The equity holders shall
                 retain their membership/ownership interest in each respective debtor as that
                 membership/ownership existed prior to the bankruptcy filing.

 G.     Payment of Administrative Claims

        All allowed administrative claims will be paid in full on or after the Plan's Effective Date
 in accordance with the provisions of 11 U.S.C. '1129(a)(9)(A), as agreed to between a particular
 administrative claimholder and the Debtors. The Debtors anticipate paying administrative claims
 from the sale of the Ranch.




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 H.     Feasibility of the Plan

         Debtors anticipate the Ranch will sell for a minimum of $7.5 million. Even if the Court
 agreed with Mcleod that it was entitled to 10.5% interest, a sale price of $7.5 million would be
 sufficient to pay all pre and post-petition debts of the estate.

 I.     Claims Allowance Procedure

         Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed [by
 a final non-appealable order], and as to which either: (i) a proof of claim has been filed or deemed
 filed, and the Debtors or another party in interest has filed an objection; or (ii) no proof of claim
 has been filed, and the Debtors have scheduled such claim as disputed, contingent, or unliquidated.
 Debtors shall file all objections to claims within 60 days of the Confirmation Date except as
 provided for herein in regard to particular creditors.

        Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
 disputed claim unless such claim is allowed by a final non-appealable order.

        Settlement of Disputed Claims. The Debtors will have the power and authority to settle
 and compromise a disputed claim with court approval and compliance with Rule 9019 of the
 Federal Rules of Bankruptcy Procedure.

         Disputed claims are not permitted to vote on Debtors’ plan absent approval of the Court to
 vote after hearing but disputed claimants may file objections to the disclosure statement and plan.

         The Debtors’ adversary filing in case 20-05027 is deemed to be an objection to the
 claims of DMA Properties, Inc., Longbranch Energy, LP, and Frank Daniel Moore, which was
 decided by Court Judgment. Debtors contend that the Court’s judgment in the 20-05027 adversary
 resolves all issues regarding the claims of DMA Properties, Inc., Longbranch Energy, LP, and
 Frank Daniel Moore and have found that none of these parties have a secured interest in any of
 Debtors’ assets except the Bigfoot note as discussed herein. The Debtors reserve the right to have
 the Bankruptcy Court clarify these issues both in the Confirmation Order and in future proceedings
 if needed.

 J.     Retention of Jurisdiction

        The Court will retain jurisdiction as set out in the Plan.

 K.     Interests Retained by the Debtor

        The Debtors are retaining their current ownership interests in their real and personal
 property, subject to the secured and unsecured claims of its creditors. Debtors retains any and all
 claims or causes of action against any person or entity: (i) to avoid, set aside, or recover any
 payment or other transfer made to any person or entity under Section 547, 548, 549, and/or 550 of
 the Bankruptcy Code, (ii) to avoid, set aside, or recover any payment or other transfer made to any
 person or entity under any applicable State law(s), (iii) to avoid or set aside any Interest of a person



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 or entity in property under Section 544 of the Bankruptcy Code; (iv) to recover damages against
 an officer, director, manager, shareholder, member, or insider for breach of their duties to the
 Debtor or their creditors accruing pre or post-bankruptcy filing; (v) to recover damages for any
 and all legal or equitable claims against their owners, managers, officers, employees, lawyers,
 employees or any other person, including but not limited to claims for breach of contract,
 promissory estoppel, conversion, fraud, breach of fiduciary duty, tortious interference, conversion,
 defamation, or any other cause of action, regardless of whether the action accrued prior to or after
 the bankruptcy filing date.


                          V.      ALTERNATIVES TO THE DEBTORS’ PLANS

        The alternative to the Debtors’ proposed operating plan of reorganization is dismissal of
 the bankruptcy. The Debtors’ have sufficient assets to pay all their debts through a sale of the
 Ranch, execution of the Mcleod option or a combination thereof.

                  VI.     RISK TO CREDITORS UNDER THE DEBTORS’ PLAN

         The principal risk that creditors will incur under the Debtors’ Plan is that the Mcleod Debt
 is determined to be greater than the remaining Uvalde Ranch Proceeds. In the even this were to
 occur, Debtors have sufficient other assets to cover any shortfall.

                                    VII.   TAX CONSEQUENCES

        Debtors are on a cash basis accounting system. Debtors direct all parties in interest to
 consult their own tax advisors regarding their own tax consequences.

     a.    Litigation

        Debtors filed Adversary No. 20-05027 on May 1, 2020, to litigate the issues surrounding
 the Pipeline ownership. Debtors received a final judgment in their adversary action on March 24,
 2021, as previously described. This case is under appeal.

                   VIII. RELATIONSHIP OF DEBTOR WITH AFFILIATES

        Larry Wright is the controlling member for all three Debtors and will continue to manage
 and control the Debtors post confirmation.

                        IX.     PREFERENTIAL OR VOIDABLE TRANSFERS

          None.

                   X.          SUMMARY OF SIGNIFICANT ORDERS ENTERED

         Many orders were entered in these cases. A list of the “significant” orders entered include
 the following; however, parties should consult the court’s docket for to review all orders entered:



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        1) Order to Jointly Administer the Cases under Case 20-50805.
        2) Order severing cases entered on June 5, 2020.
        3) Final Order in Adversary Action No. 20-05027.


                           XI.     MISCELLANEOUS DISCLOSURES

 A.     Modification of the Plan

         The Debtors may propose amendments or modifications to their Plan at any time prior to
 the date of the entry of the Order Confirming Plan, with leave of the Court, and upon proper notice
 to parties in interest. After the date of the Order Confirming Plan, Debtors may, with approval of
 the Court so long as it does not materially or adversely affect the interests of creditors, remedy any
 defects or omissions or reconcile any inconsistencies in the Plan or in the Order Confirming Plan
 in such manner as may be necessary to carry out the purpose and effect of this Plan.

 B.     Effect of Confirmation of the Plan

         Legally Binding Effect. The provisions of this Plan shall bind all Creditors and Interest
  Holders, whether or not they accept this Plan. On and after the Effective Date, all holders of
  Claims shall be precluded and forever enjoined from asserting any (i) Claim against the Debtors
  based on any transaction or other activity of any kind that occurred prior to the Confirmation
  Date except as permitted under the Plan; and (ii) derivative claims, including claims against third
  parties asserting alter ego claims, fraudulent transfer claims, or any type of successor liability
  based on acts or omissions of the Debtors. Notwithstanding this provision, any derivative
  claims against third parties shall only be enjoined as follows:

       A.    No Creditor of the Debtors shall be permitted to collect upon any Claims in
 any manner other than as provided for in the Plan.

        B.     A temporary injunction is hereby entered and shall be in effect as of the
  Effective Date, prohibiting the commencement or continuation of any action or proceeding
  against any affiliate, responsible person, guarantor, officer or director of the Debtors that
  otherwise would be liable to such holder of a Claim for payment of such Claim for any
  reason whatsoever, or against the property of any of the foregoing persons, so long as the
  Reorganized Debtors are not in default of the payment terms of such Claim as provided
  herein. Further, the statute of limitations against any guarantor is suspended during the
  period the Plan payments are not in default. Notwithstanding the foregoing, these
  provisions shall not affect the “responsible person” liability as defined by the internal
  revenue code and applicable to the allowed claim of the Internal Revenue Service.

          Injunction and Discharge. Pursuant to Section 1141(d) of the Bankruptcy Code, upon the
  Effective Date, the Debtor shall be discharged from any debt that arose before the date of such




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  confirmation, and any debt of a kind specified in Section 502(g), 502(h) or 502(i) of the
  Bankruptcy Code, whether or not a proof of the Claim based on such debt is filed or deemed filed
  under Section 501 of this title; such Claim is allowed under Section 502 of this title; or the Holder
  of such Claim has accepted the Plan. The entry of the Confirmation Order will operate as a
  general resolution with prejudice, as of the Effective Date, of all pending Legal Proceedings, if
  any, against the Debtors and their assets and properties and any proceedings not yet instituted
  against the Debtors or their assets, except as otherwise provided in the Plan. Except as otherwise
  expressly provided in the Plan or the Confirmation Order, all Persons who have held, may have
  held, hold, or may hold Claims against the Debtors are permanently enjoined on and after the
  Effective Date from (a) commencing or continuing in any manner any action or other proceeding
  of any kind against the Debtors or their property, with respect to any such Claim, (b) the
  enforcement, attachment, collection or recovery by any manner or means of any judgment,
  award, decree or order with respect to any such Claim against the Debtors or their property, (c)
  creating, perfecting, or enforcing any encumbrance of any kind against the Debtors or their
  property, with respect to such Claim, (d) asserting any right of subrogation of any kind against
  any obligation due to the Debtors or the property of the Debtors or the Estates with respect to
  any such Claim and (e) asserting any right of setoff or recoupment against the Debtors or the
  Estates except as specifically permitted by § 553 of the Bankruptcy Code. Unless otherwise
  provided in the Plan or by order of the Bankruptcy Court, all injunctions or automatic stays
  provided for in these cases pursuant to § 105, if any, or § 362 of the Bankruptcy Code, or
  otherwise, and in existence on the Confirmation Date will remain in full force and effect until
  the Effective Date.

         Limited Protection of Certain Parties in Interest Neither (a) the Debtors, or any of their
  respective employees, officers, directors, agents, representatives, affiliates, attorneys, financial
  advisors, or any other professional persons employed by the Debtors, nor (b) each Professional
  for the Debtors or any of their employees, officers, directors, agents, representatives, affiliates,
  attorneys, financial advisors, or any other professional persons employed by any of them, (the
  persons identified in (a) and (b), are collectively referred to as “Protected Persons”), shall have
  or incur any liability to any Person or Entity under any theory of liability for any act or omission
  occurring on or after the Petition Date in connection with or related to the Debtors, the Chapter
  11 Case, or the Estate, including, but not limited to, (i) formulating, preparing disseminating,
  implementing, confirming, consummating or administering this Plan (including soliciting
  acceptances or rejections thereof); or (ii) the Disclosure Statement or any contract, instrument,
  release or other agreement or document entered into or any action taken or omitted to be
  taken in connection with this Plan, except for acts constituting willful misconduct, gross
  negligence, or ultra vires activity and in all respects such Protected Persons shall be entitled to
  rely in good faith upon the advice of counsel. In any action, suit or Legal Proceeding by any
  Person contesting any action by, or non-action of any Protected Person as constituting willful
  misconduct, gross negligence, or ultra vires activity or not being in good faith, the reasonable
  attorneys’ fees and costs of the prevailing party will be paid by the losing party and as a
  condition to going forward with such action, suit, or Legal Proceeding at the outset thereof,
  all parties thereto will be required to provide appropriate proof and assurances of their capacity
  to make such payments of reasonable attorneys’ fees and costs in the event they fail to prevail.




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          Continuation of Anti-Discrimination Provisions of Bankruptcy Code A Governmental
 Unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
 other similar grant to, condition such a grant to, or discriminate with respect to such a grant
 against, the Debtors, or another Person with whom the Debtors have been or are associated or
 affiliated, solely because of the commencement, continuation, or termination of the case or
 because of any provision of the Plan or the legal effect of the Plan, and the Confirmation Order
 will constitute an express injunction against any such discriminatory treatment by a Governmental
 Unit.

 C.     Executory Contracts

         The Debtors are rejecting all prepetition executory contracts not specifically assumed by
 court order or herein. Debtors believe all the organizational agreements within their business
 entities are not executory; however, to the extent they are found executory, Debtors assume those
 agreements. Interested parties should consult the plan of reorganization for each debtor to
 determine whether a lease or executory contract is rejected or assumed. If a lease or contract
 is rejected, the affected party shall file all claims for rejection damages or an amendment to
 a previously filed claim no later than the 30th day following the effective date of the plan;
 otherwise, the claim shall be barred.

 D.     Default

          Upon default by the Debtors, creditors are required to provide written notice of such
 Default to the Debtors and their counsel, The Smeberg Law Firm, PLLC by certified mail, return
 receipt requested, and by regular first-class mail, and the Debtors shall have thirty (30) days from
 the date of the notice to cure the default. Any defect in such default notice shall toll the running of
 the thirty (30) day cure period. Notice of default shall be given to the Debtors and Ronald Smeberg.
 If the Debtors fail to cure within the thirty (30) day cure period provided herein, creditors shall be
 allowed to foreclose their liens without further notice of hearing before the Court. The Debtors
 shall be entitled to three (3) notices of default for each calendar year. On the fourth (4th) notice of
 default for a calendar year, creditors shall be allowed to foreclose their liens without further notice
 of hearing before the Court, or move to have the case converted to a case under Chapter 7.

                                       XII.    CONCLUSION

         The Debtors submit this Disclosure Statement. The information contained herein has been
 compiled in good faith and in accordance with the provisions of 11 UCC §§ 101, et. seq. This
 Disclosure Statement is presented for consideration by creditors and other parties in interest and
 as the sole source of information furnished by the Debtors, or to be furnished by the Debtors, in
 solicitation of acceptance of Debtors’ Plan of Reorganization.




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         The Debtors recommend that the Plan of Reorganization be approved. An operating plan
 is in the best interest of all creditors, Debtors, and parties-in-interest; therefore, all Creditors and
 Interest Holders are urged to vote to accept the Plan.

                                          XIII. ARTICLE

                                ATTACHMENTS AND EXHIBITS

        Exhibit “A”              Liquidation Analysis
        Exhibit “B”              Proforma
        Exhibit “C”              Proposed Plan of Reorganization
        Exhibit “D”              Last filed Monthly Operating Reports
        Exhibit “E”              Redline of Second Amended Plan

 DATED: January 14, 2022.

                                                BY: /s/ Larry Wright
                                                Name: Larry Wright, Manager

                                                THE SMEBERG LAW FIRM, PLLC

                                                BY:/s/ Ronald J. Smeberg
                                                Ronald J. Smeberg
                                                SBN: 24033967
                                                4 Imperial Oaks
                                                San Antonio, Texas 78248
                                                Tel: (210) 695-6684
                                                Fax: (210) 598-7357
                                                ATTORNEY FOR DEBTORS




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 Exhibit A. Liquidation Analysis

 Remaining Cash From Ranch Sale                                            $893,938
 Ranch Cash and Securities (Thunder Rock Holdings) (70%)                   $489,300
 ROW2 (liquidation value)                                                  $4,000,000
 Total Assets                                                              $5,382,698



 Secured Tax Debt                                                          $9000
 Admin Claims                                                              $230,000
 Mcleod Debt                                                               $550,0003
 Unsecured Debt                                                            $52000
 Insider Debt                                                              $677,000
 Total Debt                                                                $1,067,303

 Chapter 7 Expenses on Conversion                                          $180,000

 Net Value After Debt and Liquidation Expenses                             $4,135,395




 2 The actual value of the ROW could be substantially higher now that the DMA and Longbranch issues have been
 resolved but are still pending appeal.
 3 $385,000 from debtor and $165,000 in mineral rights from Larry Wright.




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                                    Exhibit B
      Post Ranch Sale               Debtor Perspective
                                    Debit           Credit

Net Sale of Krisjenn Ranch (Includes                 $893,938
       $6.43 Million Payment to Mcleod)


Bankruptcy Costs

Amount Owed Mcleod                        $385,000
Admi Claims                         $230,000
County Taxes                        $9,800
Non Insider Unsecured Claims        $53,050

                    Total           $677,850          $893,938

                                    Debtor Perspective
Net to Estate After 100% of         $216,088
Non insider Debt Paid
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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

        IN RE:                                         §       CHAPTER 11
                                                       §
        KRISJENN RANCH, LLC                            §       CASE NO. 20-50805-rbk
                                                       §
                                                       §
                  DEBTOR                               §          (Jointly Administered)

  KRISJENN RANCH, LLC, KRISJENN RANCH LLC, SERIES UVALDE RANCH, AND
      KRISJENN RANCH, LLC, SERIES PIPELINE ROW’S THIRD AMENDED
        SUBSTANTIVELY CONSOLIDATED PLAN OF REORGANIZATION

                                  ARTICLE I
                    SUMMARY AND SUBSTANTIVE CONSOLIDATION

    1.01 Summary.

     This Third Amended Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy
 Code (the “Code”) proposes to substantively consolidate all three Debtors into KrisJenn Ranch,
 LLC to pay creditors of KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and
 KrisJenn Ranch LLC, Series Pipeline Row (the “Debtors”) from the sale of real property and/or
 pipeline rights.

     This Plan differs from the Second Amended Plan in that it provides for payment of US Trustee
 fees, provides for payment of the Mcleod Debt pursuant to a settlement agreement, provides for
 payment of all creditor debts on or soon after the effective date, and clarifies the affect of the
 appeal pending in the adversary regarding rights in the Express Pipeline, which is defined in the
 Disclosure Statement.

     This Plan provides for paying real estate taxes, administrative claims, one secured class for
 the Mcleod Oil debt, and 100% of the unsecured debt.

     All creditors and equity security holders should refer to Articles IV through VI of this Plan for
 information regarding the precise treatment of their claim. A disclosure statement that provides
 more detailed information regarding this Plan and the rights of creditors and equity security holders
 has been circulated with this Plan. Generally, the plan provides as follows.

    Debtors shall pay their secured creditor, Mcleod Oil, from the sales proceeds of the Uvalde
 Ranch after an unappealable order is entered stating the amount owed McCleod.

     Except as otherwise stated, Debtors shall pay select governmental claims in equal monthly
 installments at the statutory rate of interest beginning the first day to occur 30 days after the

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 effective date within 60 months of the bankruptcy filing date. The Debtors may prepay these
 claims in full in the Debtors’ business judgment. Debtors shall pay remaining governmental claims
 upon confirmation.

     DMA and Frank Daniel Moore debts related to the “Bigfoot Note” will be paid in full on the
 effective date.

    Debtors shall pay allowed general unsecured claims in full on the effective date.

     The remaining DMA, Frank Daniel Moore, and Longbranch Energy claims are all generally
 disallowed pursuant to the adversary case order in 20-05027 subject to the pending appeal as
 provided for below.

    Equity holders shall all retain their interests as they existed prior to the bankruptcy case filing.

        Your rights may be affected. You should read these papers carefully and discuss
 them with your attorney, if you have one. If you do not have an attorney, you may wish to
 consult one.

    1.02 Substantive Consolidation.

     The Plan substantially consolidates the assets and liabilities of all three Debtors into KrisJenn
 Ranch, LLC. The Debtors and their respective Estates shall be substantively consolidated for all
 purposes under the Plan into KrisJenn Ranch, LLC. As a result of the substantive consolidation,
 (a) all Intercompany Claims by and among the Debtors (including such Claims arising from
 rejection of an executory contract), will be eliminated; (b) any obligation of any of the Debtors
 and all guarantees thereof executed by any of the Debtors will be deemed to be an obligation of
 KrisJenn Ranch, LLC; (c) any Claim filed or asserted against any of the Debtors will be deemed a
 Claim against KrisJenn Ranch, LLC; (d) any Interest in any of the Debtors will be deemed an
 Interest in KrisJenn Ranch, LLC; and (e) for purposes of determining the availability of the right
 of setoff under section 553 of the Bankruptcy Code, the Debtors will be treated as one entity,
 KrisJenn Ranch, LLC, so that (subject to the other provisions of section 553 of the Bankruptcy
 Code) debts due to any of the Debtors may be offset against the debts owed by any of the Debtors.
 The substantive consolidation contemplated by this section shall not affect or impair any valid,
 perfected and unavoidable Lien to which the assets of any Debtor is subject in the absence of
 substantive consolidation under the Plan, provided, however, it shall not cause any such Lien to
 secure any Claim which such Lien would not otherwise secure absent such substantive
 consolidation.

     On the Effective Date, except as otherwise provided in the Plan, all Claims based on guarantees
 of collection, payment, or performance made by any Debtor concerning the obligations of another
 Debtor shall be discharged, released, and without any further force or effect. Additionally, holders
 of Allowed Claims or Allowed Interests who assert identical Claims against or Interests in multiple


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 Debtors shall be entitled to a single satisfaction of such Claims or Interests from KrisJenn Ranch,
 LLC.

     Further, on the Effective Date, the Reorganized Debtor, KrisJenn Ranch, LLC is authorized to
 execute all documents necessary to title all assets previously held by Series Uvalde Ranch or Series
 Pipeline Row into KrisJenn Ranch, LLC. KrisJenn Ranch, LLC is further authorized to wind up
 the affairs and file all necessary documents with the Texas Secretary of State and other
 governmental organizations to dissolve both series.

                                   ARTICLE II
                     CLASSIFICATION OF CLAIMS AND INTERESTS

   Class                    Description                     Impaired?        Voting?
                            Secured Claim of
   2.01. Class 1.
                            McLeod Oil, LLC                 Y                Yes
                            Claims Of DMA and
   2.02. Class 2.
                            Frank Daniel Moore              N                No
                            DMA and Longbranch
   2.03. Class 3.
                            Energy, LP Joint Claims         N                No
                            Longbranch Energy, LP
   2.04. Class 4.
                            Claims                          N                No
                            General Unsecured
   2.07. Class 5.
                            Claims                          Y                Yes
                            General Unsecured
   2.09. Class 6.           Administrative
                            Convenience Claims              N                No
                            General Unsecured
   2.10. Class 7.           Larry Wright Insider
                            Claim                           N                No

   2.11. Class 8.           Equity Holders
                                                            N                No

                                ARTICLE III
                TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                         AND PRIORITY TAX CLAIMS

    3.01. Professional Fees and U.S. Trustee Fees.

     Although not classified, the professionals who have provided services to the Debtors during
 the pendency of this Chapter 11 case are entitled to administrative claim treatment. These claims
 do not include other administration priority claims allowed under 11 U.S.C. § 503. Those will be
 paid in the ordinary course as priority claims under 11 U.S.C. § 507(a) but to the extent they may


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 not be paid in the ordinary course of business they are listed here. The estimated amount of such
 claims is as follows:

           Smeberg Law Firm, PLLC (Attorneys)                         $32,000

           CJ Muller & Associates                                     $190,000

           US Trustee                                                 $3,000

           Douglas Deffenbaugh CPA                                    $5,000

           Total Estimated Admin Claims                               $230,000

           [This estimate is subject to revision; no claim for administrative claims can be paid
           absent Court approval.]

      The amount of the professional fees disclosed above is an approximate amount. It is unknown
 at this time exactly how much money will be incurred in professional fees in this Chapter 11 case.
 A final determination cannot be made until such time as the case is closed as to reasonable
 professional fees for the provision of whatever services become necessary in this Chapter 11 case.
 Any other allowed costs and expenses of administration of the Debtors’ Chapter 11 bankruptcy
 cases will also be entitled to administrative treatment. These will be paid in full at confirmation,
 less any retainers already received, after approval by the Court of said fees. The anticipated
 administrative expenses of the Debtors are moderate for a case of this size.

     Reorganized Debtors shall pay all accrued U.S. Trustee fees on the Effective Date and continue
 paying all U.S. Trustee fees as required by 1129(a)(12) until an order is entered closing the case.

    3.02. Government Claims.

            3.02.1. Unsecured Priority Claims of the Comptroller of Public Accounts and Internal
                    Revenue Service: The Texas Comptroller of Public Accounts and IRS were
                    provided notice of the bankruptcy filings but did not file claims. If the
                    Comptroller or IRS were to file allowed claims, those claims would be paid in
                    accordance with the Bankruptcy Code.

            3.02.2. Secured Taxing Authority Claims.

                    a. Uvalde County Tax Office. The Uvalde County Tax Office filed a claim
                    for $6,451.48 in case number 20-50805. However, the claim should have been
                    filed in case number 20-51083, KrisJenn Ranch, LLC Series Uvalde Ranch.
                    The claim was previously paid in conjunction with sale of the Ranch. To the
                    extent any amount remains, it will be paid on the Effective Date. Uvalde
                    County Tax Office shall retain all its liens until paid.

                    b. Nacogdoches County filed a claim for $354.60 in case number 20-51083.
                    The claim shall be paid in full at confirmation. Nacogdoches County shall


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                retain all its liens until paid. This claim shall be paid in full on the Effective
                Date.

                c. Angelina County filed a claim for $2,198.21 in case number 20-50805.
                However, the claim should have been filed in case number 20-51084, KrisJenn
                Ranch, LLC Series Pipeline Row. Angelina County shall retain all its liens until
                paid. This claim shall be paid in full on the Effective Date.

                d. Shelby County filed a claim for $496.67 in case number 20-50805.
                However, the claim should have been filed in case number 20-51084, KrisJenn
                Ranch, LLC Series Pipeline Row. The claim shall be paid in full on the
                Effective Date. Shelby County shall retain all its liens until paid.

                e. Except as otherwise stated, all Ad Valorem taxes will be paid in full in equal
                monthly instalments at the statutory rate of interest within 60 months of the
                petition filing date, with the first payment being made on the first day of the
                first month following 30 days after the Plan’s Effective Date. Post-petition
                interest at the rate of twelve percent (12%) per annum shall accrue beginning
                from the Petition Date until the confirmation date. Thereafter, plan interest at
                the rate of twelve percent (12%) per annum shall accrue on the entire balance
                until the tax debt is paid in full. Debtors shall make separate payments on each
                account consistent with separate amortization schedules provided to the
                Debtors. Each separate payment which will be applied pro rata to the various
                tax accounts indicated above. In the event Debtors sell, convey or transfer any
                property which is collateral of a property tax claim or post confirmation tax
                debt, the Debtors shall remit such sales proceeds first to the applicable property
                taxing entity to be applied to the respective tax debt incident to any such
                property/tax account sold, conveyed or transferred. Debtors may pre-pay the
                pre-petition tax debt to any of the ad valorem taxing entities at any time. The
                Debtors shall have thirty (30) days from the Effective Date to object to the any
                property tax claim; otherwise, such claim is deemed as an allowed secured
                claim in the amount of its Proof of Claim consistent with the treatment of each
                tax account under this Plan. The taxing entity shall retain its statutory lien
                securing their pre-petition and post-petition tax debts until such time as the tax
                debts are paid in full. Debtors shall pay all post-petition ad valorem tax
                liabilities (tax year 2019 and subsequent tax years) owing to the taxing entity in
                the ordinary course of business as such tax debts come due and prior to said ad
                valorem taxes becoming delinquent without need of any ad valorem taxing
                entity filing an administrative claim and request for payment. Should Debtors
                fail to make any payments as required in its respective Plan, the taxing entity
                shall provide written notice of that default by sending written notice by certified
                mail to Debtors’ counsel advising of that default, and providing the Debtors
                with a period of fifteen (15) days to cure the default. In the event that the default
                is not cured within fifteen (15) days, the taxing entity may, without further order
                of this Court or notice to the Debtors, pursue all of their rights and remedies
                available to them under the Texas Property Tax Code to collect the full amount
                of all taxes, penalties and interest owed. Additionally, the failure to timely pay

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                       post-petition and/or post-confirmation taxes while the Debtors are still paying
                       any pre-petition debt, shall be considered an event of default. A Debtors shall
                       be entitled to no more than three (3) Notices of Default. In the event of a fourth
                       (4th) default, the taxing entity may pursue all rights and remedies available to
                       it under the Texas Property Tax Code in state district court without further order
                       of this court or further notice to the Debtors.


                                 ARTICLE IV
               TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

     4.01     Claims and interests shall be treated as follows under this Plan:

           Class 1 Claims:

         Class 1 is the impaired secured claim of Mcleod Oil filed in the amount of $6,260,196.08
 filed in all three Debtors cases. Duplicate Claims 2,3,4 and 5 in 20-51084, Claim 6 in 20-50805,
 and Claims 2 in 20-5103. The majority of this claim was satisfied upon sale of the Ranch. Debtor
 has agreed to settle this claim for $385,0001. The Claim shall be paid on the Effective Date in
 accordance with the Parties’ settlement agreement to be filed with the Court.

           Mcleod shall maintain all of its liens until it is paid its allowed claim except as provided
 herein.

           Mcleod will vote on the plans as an impaired creditor.

           Class 2 Claims:

         Class 2 are the claims of DMA Properties, Inc. and Frank Daniel Moore (“DMA”). Claim
 5 in 20-50805, Claims 1 and 3 in 20-51083, and Claims 1 and 6 in 20-51084.

          DMA filed in all three cases and also filed as counterclaims in the adversary case 20-05027
 claims related to Bigfoot Energy. The Court awarded damages and attorney’s fees with a remaining
 balance of approximately $47,000. Within 10 days of the effective date, DMA shall file an
 accounting of what it believes it is still owed pursuant to the Court’s judgment. If DMA fails to
 file the accounting, its claim shall be deemed $47,000, and it shall be paid this amount within 30
 days of the Effective date. If the accounting is timely filed, Reorganized Debtor shall have 10
 days to file an objection with the Court, otherwise the accounting filed by DMA shall be the
 allowed claim, which shall then be paid within 30 days of the Effective date. If the Reorganized
 Debtor files an objection to the accounting, the Claim shall be paid within 30 days of entry of a




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   Larry Wright and Gwen Wright are also parties to the settlement transferring 165 acres of their personal mineral
 rights as consideration.

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 final, unappealable order on the objection. DMA and Frank Daniel Moore are unimpaired and will
 not vote on the plan.

        Class 3 Claims:

       Class 3 is the joint claim of DMA Properties, Inc. (“DMA”) and Longbranch Energy, LP
 (“Longbranch”). Claim 7 in 20-50805.

          DMA and Longbranch filed one joint claim related to the adversary action claiming an
 interest in the Express Pipeline (as defined in the Disclosure Statement) and other miscellaneous
 relief, these claims were all denied through the trial and are subject to an appeal. As a result, these
 claims are being disallowed in their entirety pursuant to the Court’s judgment in case 20-05027
 and will not receive any distribution under the Plan. However, if through the appeals process,
 DMA and Longbranch are ultimately determined to have an interest in the Express Pipeline, and
 in the event the Reorganized Debtor sold or otherwise disposed of the Express Pipeline during the
 pendency of the appeal, the value of that interest shall attached solely to the net profits obtained
 by the Reorganized Debtor from the sale or operation of the Express Pipe line after deducting all
 expenses incurred by the Debtor in any way related to the Express Pipe Line, including but not
 limited to, the cost of 1) purchasing the Express Pipeline, 2) maintaining the Express Pipeline, 3)
 insurance, 4) professional fees, 5) interest, 6) and developing the Express Pipeline.

        To the extent Longbranch or DMA have filed or claimed liens encumbering any of
 Debtors’ property, including but not limited to the Express Pipeline, those liens are void and
 Debtors may file a copy of the confirmed Plan and Confirmation order with federal, state or local
 government evidencing the liens have been voided.

        Class 3 is unimpaired and does not vote on the plans.

        Class 4 Claims:

        Class 4 are the claims of Longbranch Energy, LP (“Longbranch”). Claim 4 in 20-51083
 and Claim 8 in 20-51084.

         Longbranch filed claims related to the adversary action claiming an interest in the Express
 Pipeline (as defined in the Disclosure Statement) and other miscellaneous relief, these claims were
 all denied through the trial and are subject to an appeal. As a result, these claims are being
 disallowed in their entirety pursuant to the Court’s judgment in case 20-05027 and will not receive
 any distribution under the Plan. However, if through the appeals process, Longbranch is ultimately
 determined to have an interest in the Express Pipeline, and in the event the Reorganized Debtor
 sold or otherwise disposed of the Express Pipeline during the pendency of the appeal, the value of
 that interest shall attached solely to the net profits obtained by the Reorganized Debtor from the
 sale or operation of the Express Pipe line after deducting all expenses incurred by the Debtor in
 any way related to the Express Pipe Line, including but not limited to, the cost of 1) purchasing
 the Express Pipeline, 2) maintaining the Express Pipeline, 3) insurance, 4) professional fees, 5)
 interest, 6) and developing the Express Pipeline.

        To the extent Longbranch has filed or claimed liens encumbering any of Debtors’ property,
 including but not limited to the Express Pipeline, those liens are void and Debtors may file a copy

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 of the confirmed Plan and Confirmation order with federal, state or local government evidencing
 the liens have been voided.

        Class 4 is unimpaired and does not vote on the plans.

        Class 4 is unimpaired and does not vote on the plans.

        Class 5 Claims:

        Class 5 is the impaired general unsecured creditor claims. This Class contains the Claim
 of Davis, Cedillo & Mendoza, Inc. (“Cedillo”) in the amount of $2,945.

        Class 6 Claims:

         Class 6 are the impaired, general unsecured administrative convenience claims scheduled
 at $1,000 or less. These claims were all scheduled in Case 20-50805, but none of the creditors
 filed claims in any of the Debtors’ cases. The claimants are as follows:

                1.     C & W Fuels - $1.00

                2.     Granstaff Gaedke & Edgmon PC - $1.00

                3.     Hopper's Soft Water Service - $100.00

                4.     Medina Electric - $1.00

                5.     Texas Farm Store - $1.00

                6.     Uvalco Supply - $1.00

         The Class 6 claims shall be paid in full on the Effective Date. They are unimpaired and
 shall not vote on the plan.

        Class 7 Claims:

        Class 7 claim is the general unsecured claim of insider Larry Wright. This claim was
 scheduled in Case 20-50805 in the amount of $648,209. Additionally, Larry Wright loaned
 $129,446 to the Company

         The Class 7 claim shall be subordinated to all other claims in the bankruptcy except equity
 claims. The claim shall be paid in 120 equal monthly installments beginning the 5th year
 anniversary of the Effective Date with interest at the judgment rate of interest in effect on the
 Effective Date. The claim is deemed unimpaired and shall not vote on the plan.

        Class 8 Claims:




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         Class 8 claims are the claims of Debtors’ equity holders. The equity holders shall retain
 their membership/ownership interest in each respective Debtors as that membership/ownership
 existed prior to the bankruptcy filing.

                                  ARTICLE V
                     ALLOWANCE AND DISALLOWANCE OF CLAIMS

         Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed [by
 a final non-appealable order], and as to which either: (i) a proof of claim has been filed or deemed
 filed, and the Debtors or another party in interest has filed an objection; or (ii) no proof of claim
 has been filed, and the Debtors have scheduled such claim as disputed, contingent, or unliquidated.
 Debtors shall file all objections to claims within 60 days of the Confirmation Date except as
 provided for in the Disclosure Statement or herein.

         Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
 disputed claim unless such claim is allowed by a final non-appealable order or otherwise provided
 herein.

        Settlement of Disputed Claims. The Debtors will have the power and authority to settle
 and compromise a disputed claim with court approval and compliance with Rule 9019 of the
 Federal Rules of Bankruptcy Procedure.

         Disputed claims are not permitted to vote on Debtors’ plan absent approval of the Court to
 vote after hearing but disputed claimants may file objections to the disclosure statement and plan.

         The Debtors’ adversary filing in case 20-05027 is deemed to be an objection to the
 claims of DMA Properties, Inc., Longbranch Energy, LP, and Frank Daniel Moore, which was
 decided by Court Judgment. Debtors contend that the Court’s judgment in the 20-05027 adversary
 resolves all issues regarding the claims of DMA Properties, Inc., Longbranch Energy, LP, and
 Frank Daniel Moore and have found that none of these parties have a secured interest in any of
 Debtors’ assets except the Bigfoot note as discussed in the Disclosure Statement. The Debtors
 reserve the right to have the Bankruptcy Court clarify these issues both in the Confirmation Order
 and in future proceedings if needed.

 Retention of Jurisdiction.

        The Court will retain jurisdiction as set out in the Plan.

 Interests Retained by the Debtors.

         The Debtors are retaining their current ownership interests in their real and personal
 property, subject to the secured and unsecured claims of its creditors. Debtors retains any and all
 claims or causes of action against any person or entity: (i) to avoid, set aside, or recover any
 payment or other transfer made to any person or entity under Section 547, 548, 549, and/or 550 of
 the Bankruptcy Code, (ii) to avoid, set aside, or recover any payment or other transfer made to any
 person or entity under any applicable State law(s), (iii) to avoid or set aside any Interest of a person
 or entity in property under Section 544 of the Bankruptcy Code; (iv) to recover damages against

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 an officer, director, manager, shareholder, member, or insider for breach of their duties to the
 Debtor or their creditors accruing pre or post-bankruptcy filing; (v) to recover damages for any
 and all legal or equitable claims against their owners, managers, officers, employees, lawyers,
 employees or any other person, including but not limited to claims for breach of contract,
 promissory estoppel, conversion, fraud, breach of fiduciary duty, tortious interference, conversion,
 defamation, or any other cause of action, regardless of whether the action accrued prior to or after
 the bankruptcy filing date.

                                  ARTICLE VI
                    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         The Debtors are rejecting all prepetition executory contracts not specifically assumed by
 court order or as indicated below. Debtors believe all the organizational agreements within their
 business entities are not executory; however, to the extent they are found executory, Debtors
 assume those agreements.

     Unless the time to file a claim for rejections damages is specifically limited herein or by other
 court order, rejections damages must be filed no later than 30 days after the effective date of the
 plan.

                                   ARTICLE VII
                      MEANS FOR IMPLEMENTATION OF THE PLAN

      7.01       Continued Corporate Existence. The Debtors shall continue to exist after the
 Effective Date as their respective Texas entities, with all the powers of a corporation, partnership,
 or limited liability company, as applicable, under applicable law and without prejudice to any right
 to alter or terminate such existence (whether by merger or otherwise) under applicable state law.

     7.02       Advance Payment of Claims. Provided Debtors stay current on all payments to
 creditors pursuant to the Plan, Debtors may make advance payments on claims in Debtors’
 business judgment discretion.

    7.03        Payments due under the plan shall come from the remaining Uvalde Ranch
 proceeds, then monetization of the Pipeline ROW, and then sale of the Thunder Rock Holdings.

                                       ARTICLE VIII
                                    GENERAL PROVISIONS

     8.01        Definitions and Rules of Construction. The definitions and rules of construction set
 forth in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code are
 used in this Plan, and they are supplemented by the following definitions:




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       8.01.1   Administrative Claim shall mean any Claim that is defined in Section 503(b) of
                the Bankruptcy Code as being an “administrative expense” within the meaning of
                such section and referenced in Bankruptcy Code Section 507(a)(1) including,
                without limitation, the actual necessary costs and expenses of preserving the
                Debtors’ estates and operating the business of the Debtors, including wages,
                salaries, or commissions for services rendered after the commencement of the
                case, compensation for legal and other services and reimbursement of expenses.
                Allowed or awarded under Bankruptcy Code Sections 33(a) or 331, and all fees
                and charges assessed against the estate of the Debtors under title 28 of the United
                States Code

       8.01.2   Allowed Claim or Allowed Interest shall mean a Claim or Interest (a) in respect
                of which a proof of claim or application has been filed with the Bankruptcy Court
                within the applicable period of limitation fixed by Bankruptcy Rule 3001 or (b)
                scheduled in the list of Creditors prepared and filed with the Bankruptcy Court
                pursuant to Bankruptcy Rule 1007(b) and not listed as Disputed Claims or
                contingent or liquidated as to amount, in either case as to which no objection to
                the allowance thereof has been interposed within any applicable period of
                limitation fixed by Bankruptcy rule 3001 or an order of the Bankruptcy Court, or
                this Plan, or as to which any such objection has been determined by an order or
                judgment which is no longer subject to appeal or certiorari proceeding and as to
                which no appeal or certiorari proceedings is pending or as otherwise allowed
                under this Plan. An Allowed Claim may refer to a Secured Claim, a General
                Unsecured Claim, an Administrative Claim or a Priority Claim as the context
                provides.

       8.01.3   Avoidance Actions shall mean those causes of action provided for under Sections
                547 to 551 of the Bankruptcy Code, causes of action under applicable non-
                bankruptcy law for fraudulent transfer or similar legal theories.

       8.01.4   Bankruptcy Code shall mean the Bankruptcy Code, 11 U.S.C. §101 et seq., as it
                existed on the Filing Date

       8.01.5   Bankruptcy Court shall mean the United States Bankruptcy Court for the Western
                District of Texas, San Antonio Division, in which the Debtors’ Chapter 11 case,
                pursuant to which the Plan is proposed, is pending, and any Court having
                competent jurisdiction to hear appeals or certiorari proceedings therefrom.

       8.01.6   Bankruptcy Estate or Estates shall mean all of the assets owned by the Debtors
                and their respective estates.

       8.01.7   Cash shall mean Cash and Cash equivalents including, without limitation, checks
                and wire transfers.

       8.01.8   Claim shall have the meaning given in Section 101 of the Bankruptcy Code, to
                wit, any right to payment, or right to an equitable remedy for breach of

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                performance if such breach gives rise to a right to payment, against the Debtors
                in existence on or before the Filing Date, whether or not such right to payment or
                right to equitable remedy is reduced to judgment, liquidated, unliquidated, fixed,
                contingent, matured, unmatured, disputed, undisputed, legal, legal, secured or
                unsecured whether or not asserted.

       8.01.9   Class shall mean any class into which Allowed Claims or Allowed Interests are
                classified pursuant to Article 4.

       8.01.10 Confirmation Date shall mean the date upon which the Confirmation Order is
               entered by the Clerk of the Bankruptcy Court.

       8.01.11 Confirmation Hearing shall mean the hearing held by the Bankruptcy Court to
               consider confirmation of the Plan.

       8.01.12 Confirmation Order shall mean the order entered by the Bankruptcy Court
               confirming this Plan in accordance with the provisions of Chapter 11 of the
               Bankruptcy Code.

       8.01.13 Creditor shall mean any entity holding a Claim.

       8.01.14 Debtors shall mean KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series
               Uvalde Ranch, and KrisJenn Ranch LLC, Series Pipeline Row

       8.01.15 Disbursing Agent shall mean KrisJenn Ranch, LLC.

       8.01.16 Disclosure Statement shall mean the written document filed by the Debtors in
               accordance with Section 1125(b) of the Bankruptcy Code containing information
               sufficient to enable a hypothetical reasonable investor typical of Holders of
               Claims or Interests of the relevant Class to make an informed judgment about this
               Plan.

       8.01.17 Disallowed Claim shall mean any Claim or portion thereof which has been
               disallowed by a Final Order and includes any Claim which is not an Allowed
               Claim for any other reason.

       8.01.18 Disputed Claim shall mean that portion (including, where appropriate, the whole)
               or any Claim (other than an Allowed Claim) that (a) is listed in Debtors’
               schedules of liabilities as disputed, contingent, or unliquidated; (b) is listed in the
               Debtors’ schedules of liabilities and as to which a proof of Claim has been filed
               with the Bankruptcy Court, to the extent the proof of Claim exceeds the scheduled
               amount; (c) is not listed in the Debtors’ schedules of liabilities, but as to which a
               proof of Claim has been filed with the Bankruptcy Court; or (d) as to which an
               objection has been filed and has not become an Allowed Claim.




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       8.01.19 Effective Date shall mean fifteen (15) days after entry of a Final Order confirming
               Debtors’ plan of reorganization.

       8.01.20 Equity Interest shall mean the interests represented by an “equity security” as
               defined in Section 101 of the Bankruptcy Code.

       8.01.21 Executory Contracts shall mean any Pre-petition Unexpired Lease(s) or executor
               contract(s) of the Debtors within the meaning of Section 365 of the Bankruptcy
               Code.

       8.01.22 Filing Date shall mean the date Debtors filed their voluntary petition under
               Chapter 11 of the Bankruptcy Code.

       8.01.23 Final Order shall mean an order or judgment of a Court which has become final
               in accordance with law, and which has not been stayed pending appeal.

       8.01.24 General Unsecured Claim shall mean either (i) a Claim that is not secured by a
               lien, security interest or other charge against or interest in property in which
               Debtors has an interest or which is not subject to setoff under Section 553 of the
               Bankruptcy Code; (ii) a Claim that is not a Secured Claim; (iii) a claim that is not
               an Administrative Claim; (iv) a Claim that is not a Priority Claim; or (v) a Claim
               that is not otherwise entitled to priority under Bankruptcy Code Sections 503 or
               507.

       8.01.25 Holder shall mean the owner or Holder of any Claim or Interest.

       8.01.26 Interest shall mean an Interest (a) in respect to which a proof of interest has been
               filed with the Bankruptcy Court within the applicable period of limitation fixed
               by Bankruptcy Rule 3001 or (b) scheduled in the list of Equity Security Holders
               prepared and filed with the Bankruptcy Court pursuant to Bankruptcy Rule
               1007(b).

       8.01.27 Insider has the definition ascribed to it under the Bankruptcy Code.

       8.01.28 Lien shall mean a “lien” as defined in Section 101(37) of the Bankruptcy Code.

       8.01.29 Net Proceeds shall mean, any cash recovery, the funds remaining after a final
               judgment on an Avoidance Action, net of all legal fees (and/or contingency legal
               fees), costs and expenses of suit. The Net Proceeds, for any non-cash recovery,
               is the amount of cash remaining after the final judgment and recovery of non-
               cash asset is liquidated and the cash proceeds are distributed net of all legal fees,
               costs and expenses of suit. Compromises of Avoidance Actions may include cash
               or benefits to the Debtors or Reorganized Debtors and are not Net Proceeds.




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       8.01.30 Person shall mean an individual, corporation, partnership, joint venture, trust,
               estate, unincorporated organization, or a government or any agency or political
               subdivision thereof.

       8.01.31 Plan shall mean this Chapter 11 Plan, as altered, modified or amended in
               accordance with the terms hereof in accordance with the Bankruptcy Code, the
               Bankruptcy Rules and this Plan.

       8.01.32 Priority Tax Claims shall mean any claim that is defined in Section 507(a)(8) of
               the Bankruptcy Code.

       8.01.33 Professionals shall mean all professional employed in this case pursuant to
               Section 327 or 1103 of the Bankruptcy Code.

       8.01.34 Pro-Rata shall mean the proportion that the Allowed amount of such Claim bears
               to the aggregate amount of Claims in each respective Class.

       8.01.35 Secured Claim shall mean a claim secured by a lien, security interest or other
               charge against or interest in property in which the Debtors has an interest, or
               which is subject to setoff under Section 553 of the Bankruptcy Code, to the extent
               of the value (determined in accordance with Section 506(a) of the Bankruptcy
               Code) of the interest of the Holder of such Claim in the Debtors’ interest in such
               property or to the extent of the amount subject to such setoff, as the case may be.

       8.01.37 Severability. If any provision in this Plan is determined to be unenforceable, the
               determination will in no way limit or affect the enforceability and operative effect
               of any other provision of this Plan.

       8.01.38 Binding Effect. The rights and obligations of any entity named or referred to in
               this Plan will be binding upon, and will inure to the benefit of the successors or
               assigns of such entity.

       8.01.39 Captions. The headings contained in this Plan are for convenience of reference
               only and do not affect the meaning or interpretation of this Plan.

       8.01.40 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
               (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of
               the State of Texas govern this Plan and any agreements, documents, and
               instruments executed in connection with this Plan, except as otherwise provided
               in this Plan.




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                                   ARTICLE IX
                      DISCHARGE AND EFFECT OF CONFIRMATION

     9.01        Legally Binding Effect. The provisions of this Plan shall bind all Creditors and
 Interest Holders, whether or not they accept this Plan. On and after the Effective Date, all holders
 of Claims shall be precluded and forever enjoined from asserting any (i) Claim against the Debtors
 based on any transaction or other activity of any kind that occurred prior to the Confirmation Date
 except as permitted under the Plan; and (ii) derivative claims, including claims against third parties
 asserting alter ego claims, fraudulent transfer claims, or any type of successor liability based on
 acts or omissions of the Debtors. Notwithstanding this provision, any derivative claims
 against third parties shall only be enjoined as follows:

       A.    No Creditor of the Debtors shall be permitted to collect upon any Claims in
 any manner other than as provided for in the Plan.

         B.      Affiliate Injunction. A temporary injunction is hereby entered and shall be in
  effect as of the Effective Date, prohibiting the commencement or continuation of any action
  or proceeding against any affiliate, responsible person, guarantor, officer or director of the
  Debtors that otherwise would be liable to such holder of a Claim for payment of such Claim
  for any reason whatsoever, or against the property of any of the foregoing persons, so long
  as the Reorganized Debtors are not in default of the payment terms of such Claim as
  provided herein. Further, the statute of limitations against any guarantor is suspended
  during the period the Plan payments are not in default. Notwithstanding the foregoing,
  these provisions shall not affect the “responsible person” liability as defined by the
  internal revenue code and applicable to the allowed claim of the Internal Revenue Service.

     9.02        Injunction and Discharge. Pursuant to Section 1141(d) of the Bankruptcy Code,
 upon the Effective Date, the Debtor shall be discharged from any debt that arose before the date
 of such confirmation, and any debt of a kind specified in Section 502(g), 502(h) or 502(i) of the
 Bankruptcy Code, whether or not a proof of the Claim based on such debt is filed or deemed filed
 under Section 501 of this title; such Claim is allowed under Section 502 of this title; or the Holder
 of such Claim has accepted the Plan. The entry of the Confirmation Order will operate as a general
 resolution with prejudice, as of the Effective Date, of all pending Legal Proceedings, if any,
 against the Debtors and their assets and properties and any proceedings not yet instituted against
 the Debtors or their assets, except as otherwise provided in the Plan. Except as otherwise expressly
 provided in the Plan or the Confirmation Order, all Persons who have held, may have held, hold,
 or may hold Claims against the Debtors are permanently enjoined on and after the Effective Date
 from (a) commencing or continuing in any manner any action or other proceeding of any kind
 against the Debtors or their property, with respect to any such Claim, (b) the enforcement,
 attachment, collection or recovery by any manner or means of any judgment, award, decree or
 order with respect to any such Claim against the Debtors or their property, (c) creating, perfecting,
 or enforcing any encumbrance of any kind against the Debtors or their property, with respect to
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 such Claim, (d) asserting any right of subrogation of any kind against any obligation due to the
 Debtors or the property of the Debtors or the Estates with respect to any such Claim and (e)
 asserting any right of setoff or recoupment against the Debtors or the Estates except as specifically
 permitted by § 553 of the Bankruptcy Code. Unless otherwise provided in the Plan or by order
 of the Bankruptcy Court, all injunctions or automatic stays provided for in these cases pursuant to
 § 105, if any, or § 362 of the Bankruptcy Code, or otherwise, and in existence on the
 Confirmation Date will remain in full force and effect until the Effective Date.

      9.03        Limited Protection of Certain Parties in Interest. Neither (a) the Debtors, or any of
 their respective employees, officers, directors, agents, representatives, affiliates, attorneys,
 financial advisors, or any other professional persons employed by the Debtors, nor (b) each
 Professional for the Debtors or any of their employees, officers, directors, agents, representatives,
 affiliates, attorneys, financial advisors, or any other professional persons employed by any of
 them, (the persons identified in (a) and (b), are collectively referred to as “Protected Persons”),
 shall have or incur any liability to any Person or Entity under any theory of liability for any act
 or omission occurring on or after the Petition Date in connection with or related to the Debtors,
 the Chapter 11 Case, or the Estate, including, but not limited to, (i) formulating, preparing
 disseminating, implementing, confirming, consummating or administering this Plan
 (including soliciting acceptances or rejections thereof); or (ii) the Disclosure Statement or any
 contract, instrument, release or other agreement or document entered into or any action taken
 or omitted to be taken in connection with this Plan, except for acts constituting willful
 misconduct, gross negligence, or ultra vires activity and in all respects such Protected Persons
 shall be entitled to rely in good faith upon the advice of counsel. In any action, suit or Legal
 Proceeding by any Person contesting any action by, or non-action of any Protected Person as
 constituting willful misconduct, gross negligence, or ultra vires activity or not being in good
 faith, the reasonable attorneys’ fees and costs of the prevailing party will be paid by the losing
 party and as a condition to going forward with such action, suit, or Legal Proceeding at the
 outset thereof, all parties thereto will be required to provide appropriate proof and assurances
 of their capacity to make such payments of reasonable attorneys’ fees and costs in the event they
 fail to prevail.

     9.04        Continuation of Anti-Discrimination Provisions of Bankruptcy Code. A
 Governmental Unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter,
 franchise, or other similar grant to, condition such a grant to, or discriminate with respect to such
 a grant against, the Debtors, or another Person with whom the Debtors have been or are
 associated or affiliated, solely because of the commencement, continuation, or termination of the
 case or because of any provision of the Plan or the legal effect of the Plan, and the Confirmation
 Order will constitute an express injunction against any such discriminatory treatment by a
 Governmental Unit.



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                                          ARTICLE X
                                       OTHER PROVISIONS

                                              DEFAULT

     10.01        Default. Upon default by the Debtors, creditors are required to provide written
 notice of such Default to the Debtors and their counsel, The Smeberg Law Firm, PLLC by certified
 mail, return receipt requested, and by regular first-class mail, and the Debtors shall have thirty (30)
 days from the date of the notice to cure the default. Any defect in such default notice shall toll the
 running of the thirty (30) day cure period. Notice of default shall be given to the Debtors and
 Ronald Smeberg. If the Debtors fail to cure within the thirty (30) day cure period provided herein,
 creditors shall be allowed to foreclose their liens without further notice of hearing before the Court.
 The Debtors shall be entitled to three (3) notices of default for each calendar year. On the fourth
 (4th) notice of default for a calendar year, creditors shall be allowed to foreclose their liens without
 further notice of hearing before the Court, or move to have the case converted to a case under
 Chapter 7.

     10.02      Vesting of Estate Property and Effect of Default. On the Effective Date, title to all
 assets and properties dealt with by the Plan shall vest in KrisJenn Ranch, LLC, Reorganized
 Debtor, free and clear of all Claims and Interests other than any contractual secured claims granted
 under any lending agreement, on the condition that Reorganized Debtor comply with the terms of
 the Plan, including the making of all payments to creditors provided for in such Plan. If
 Reorganized Debtor defaults in performing under the provisions of this Plan and this case is
 converted to a case under chapter 7, all property vested in KrisJenn Ranch, LLC and all
 subsequently acquired property owned as of or after the conversion date shall re-vest and constitute
 property of the bankruptcy estate in the converted case.


                                                 Respectfully submitted,

                                                 BY: /s/ Larry Wright        _________
                                                 Name: Larry Wright, Manager, KrisJenn Ranch,
                                                 LLC, KrisJenn Ranch, LLC Series Uvalde Ranch,
                                                 KrisJenn Ranch, LLC Series Pipeline Row.

                                                 THE SMEBERG LAW FIRM, PLLC

                                                 BY:/s/ Ronald J. Smeberg____________
                                                 Ronald J. Smeberg
                                                 4 Imperial Oaks
                                                 San Antonio, Texas 78248
                                                 Tel: (210) 695-6684
                                                 Fax: (210) 598-7357
                                                 ATTORNEY FOR DEBTORS




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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

       IN RE:                                         §       CHAPTER 11
                                                      §
       KRISJENN RANCH, LLC                            §       CASE NO. 20-50805-rbk
                                                      §
                                                      §
                 DEBTOR                               §          (Jointly Administered)

KRISJENN RANCH, LLC, KRISJENN RANCH LLC, SERIES UVALDE RANCH, AND
 KRISJENN RANCH, LLC, SERIES PIPELINE ROW’S THIRDSECOND AMENDED
      SUBSTANTIVELY CONSOLIDATED PLAN OF REORGANIZATION

                                 ARTICLE I
                   SUMMARY AND SUBSTANTIVE CONSOLIDATION

   1.01 Summary

    This ThirdSecond Amended Plan of Reorganization (the “Plan”) under chapter 11 of the
Bankruptcy Code (the “Code”) proposes to substantively consolidate all three Debtors into
KrisJenn Ranch, LLC to pay creditors of KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series
Uvalde Ranch, and KrisJenn Ranch LLC, Series Pipeline Row (the “Debtors”) from the sale of
real property and/or pipeline rights.

    This Plan differs from the SecondFirst Amended Plan in that it accounts for Debtor KrisJenn
Ranch, LLC Series Uvalde Ranch having sold its Uvalde Ranch and substantially paid down the
debt to McCleod Oil. The plan provides for paymentall creditors of US Trustee fees, provides for
paymentthe bankruptcy estate to be paid 100% of the Mcleod Debt pursuant to a settlement
agreement, provides for payment of all creditor debts on or soontheir Allowed claims after the
effective date, and clarifies the affect ofCourt determines the appeal pending in the adversary
regarding rights in the Express Pipeline, which is defined in the Disclosure Statement. amount of
fees and interest that are still owed to McCleod Oil.

    This Plan provides for paying real estate taxes, administrative claims, one secured class for
the Mcleod Oil debt, and 100% of the unsecured debt.

    All creditors and equity security holders should refer to Articles IV through VI of this Plan for
information regarding the precise treatment of their claim. A disclosure statement that provides
more detailed information regarding this Plan and the rights of creditors and equity security holders
has been circulated with this Plan. Generally, the plan provides as follows.

   Debtors shall pay their secured creditor, Mcleod Oil, from the sales proceeds of the Uvalde
Ranch after an unappealable order is entered stating the amount owed McCleod.

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    Except as otherwise stated, Debtors shall pay select governmental claims in equal monthly
installments at the statutory rate of interest beginning the first day to occur 30 days after the
effective date within 60 months of the bankruptcy filing date. The Debtors may prepay these
claims in full in the Debtors’ business judgment. Debtors shall pay remaining governmental claims
upon confirmation.

    DMA and Frank Daniel Moore debts related to the “Bigfoot Note” will be paid in full onfrom
the effective date.Court registry and/or from the Bigfoot Note payee in accordance with any further
orders of the Bankruptcy court. To the extent there are not sufficient funds to pay the entire Bigfoot
Note and court ordered attorney fees, the remaining fees shall be treated as general unsecured
debts.

    Debtors shall pay allowed lgeneralgeneral unsecured claims 100% at the federal judgment rate
of interest in fulleffect on the effectiveconfirmation date.     within 120 days after a final
unappealable order is entered determining the amount of the Mcleod claim unless there are
insufficient funds from the sale in which case the unsecured creditors shall be paid within 12
months.

    The remaining DMA, Frank Daniel Moore, and Longbranch Energy claims are all generally
disallowed pursuant to the adversary case order in 20-05027 subject to the pending appeal as
provided for below.

   Equity holders shall all retain their interests as they existed prior to the bankruptcy case filing.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one. If you do not have an attorney, you may wish to
consult one.

   1.02 Substantive Consolidation.

    The Plan proposes to substantially consolidatesconsolidate the assets and liabilities of all three
Debtors into KrisJenn Ranch, LLC. The Debtors and their respective Estates shall be substantively
consolidated for all purposes under the Plan into KrisJenn Ranch, LLC. As a result of the
substantive consolidation, (a) all Intercompany Claims by and among the Debtors (including such
Claims arising from rejection of an executory contract), will be eliminated; (b) any obligation of
any of the Debtors and all guarantees thereof executed by any of the Debtors will be deemed to be
an obligation of each of KrisJenn Ranch, LLC; (c) any Claim filed or asserted against any of the
Debtors will be deemed a Claim against KrisJenn Ranch, LLC; (d) any Interest in any of the
Debtors will be deemed an Interest in KrisJenn Ranch, LLC; and (e) for purposes of determining
the availability of the right of setoff under section 553 of the Bankruptcy Code, the Debtors will
be treated as one entity, KrisJenn Ranch, LLC, so that (subject to the other provisions of section
553 of the Bankruptcy Code) debts due to any of the Debtors may be offset against the debts owed
by any of the Debtors. The substantive consolidation contemplated by this section shall not affect

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or impair any valid, perfected and unavoidable Lien to which the assets of any Debtor is subject
in the absence of substantive consolidation under the Plan, provided, however, it shall not cause
any such Lien to secure any Claim which such Lien would not otherwise secure absent such
substantive consolidation.

    On the Effective Date, except as otherwise provided in the Plan, all Claims based on guarantees
of collection, payment, or performance made by any Debtor concerning the obligations of another
Debtor shall be discharged, released, and without any further force or effect. Additionally, holders
of Allowed Claims or Allowed Interests who assert identical Claims against or Interests in multiple
Debtors shall be entitled to a single satisfaction of such Claims or Interests from KrisJenn Ranch,
LLC.

    Further, on the Effective Date, the Reorganized Debtor, KrisJenn Ranch, LLC is authorized to
execute all documents necessary to title all assets previously held by Series Uvalde Ranch or Series
Pipeline Row into KrisJenn Ranch, LLC. KrisJenn Ranch, LLC is further authorized to wind up
the affairs and file all necessary documents with the Texas Secretary of State and other
governmental organizations to dissolve both series.

                                  ARTICLE II
                    CLASSIFICATION OF CLAIMS AND INTERESTS

  Class                    Description                     Impaired?        Voting?
                           Secured Claim of
  2.01. Class 1.
                           McLeod Oil, LLC                 Y                Yes
                           Claims Of DMA and
  2.02. Class 2.
                           Frank Daniel Moore              N                No
                           DMA and Longbranch
  2.03. Class 3.                                                                                       Formatted Table
                           Energy, LP Joint Claims         N                No
                           Longbranch Energy, LP
  2.04. Class 4.                                                                                       Formatted: Underline
                           Claims                          N                No
                           General Unsecured
  2.07. Class 5.                                                                                       Formatted: No underline
                           Claims                          Y                Yes                        Formatted: No underline
                           General Unsecured
  2.09. Class 6.           Administrative                                                              Formatted: No underline
                           Convenience Claims              N                No
                           General Unsecured
  2.10. Class 7.           Larry Wright Insider                                                        Formatted: No underline
                           Claim                           N                No                         Formatted: No underline


  2.11. Class 8.           Equity Holders                                                              Formatted: No underline
                                                           N                No                         Formatted: No underline


                               ARTICLE III
               TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
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                                AND PRIORITY TAX CLAIMS

       3.01.    Professional Fees and U.S. Trustee Fees.

    Although not classified, the professionals who have provided services to the Debtors during
the pendency of this Chapter 11 case are entitled to administrative claim treatment. These claims
do not include other administration priority claims allowed under 11 U.S.C. § 503. Those will be
paid in the ordinary course as priority claims under 11 U.S.C. § 507(a) but to the extent they may
not be paid in the ordinary course of business they are listed here. The estimated amount of such
claims is as follows:

          Smeberg Law Firm, PLLC (Attorneys)                         $3230,000

          CJ Muller & Associates                                     $190,000

          US Trustee                                                 $3,000

          Douglas Deffenbaugh CPA                                    $5,000

          Total Estimated Admin Claims                               $230228,000

          [This estimate is subject to revision; no claim for administrative claims can be paid
          absent Court approval.]

     The amount of the professional fees disclosed above is an approximate amount. It is unknown
at this time exactly how much money will be incurred in professional fees in this Chapter 11 case.
A final determination cannot be made until such time as the case is closed as to reasonable
professional fees for the provision of whatever services become necessary in this Chapter 11 case.
Any other allowed costs and expenses of administration of the Debtors’ Chapter 11 bankruptcy
cases will also be entitled to administrative treatment. These will be paid in full at confirmation,
less any retainers already received, after approval by the Court of said fees. The anticipated
administrative expenses of the Debtors are moderate for a case of this size.

    Reorganized Debtors shall pay all accrued U.S. Trustee fees on the Effective Date and continue
paying all U.S. Trustee fees as required by 1129(a)(12) until an order is entered closing the case.

       3.02. Government Claims.

           3.02.1. Unsecured Priority Claims of the Comptroller of Public Accounts and Internal
                   Revenue Service: The Texas Comptroller of Public Accounts and IRS were
                   provided notice of the bankruptcy filings but did not file claims. If the
                   Comptroller or IRS were to file allowed claims, those claims would be paid in
                   accordance with the Bankruptcy Code.

           3.02.2.      Secured Taxing Authority Claims.

                     a. Uvalde County Tax Office. The Uvalde County Tax Office filed a claim
                     for $6,451.48 in case number 20-50805. However, the claim should have been

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          filed in case number 20-51083, KrisJenn Ranch, LLC Series Uvalde Ranch.
          The claim was previouslyshall be paid in conjunction withfull upon sale of the
          Ranch. ToIf the extent any amount remains, it will be paid onRanch has not
          been sold as of the Effective Date. Uvalde County Tax Office shall retain all
          its liens until paid. , then the claim shall be paid in equal monthly installments
          at the statutory rate of interest beginning the first day to occur 30 days after the
          effective date within 60 months of the bankruptcy filing date. The Debtors may
          prepay this claim in full in the Debtors’ business judgment. The equity holders
          reserve the right to pay this claim as a contribution of capital to the Debtors.

          b. Guadalupe County filed a claim for $18,233.90 in case number 20-50805.
          The claim is in regard to Larry Wright’s personal residence and does not relate
          to any property of the estate. The claim is disallowed and to the extent
          Guadalupe County does not withdraw the claim, Debtors will file an objection
          to the claim.

          c. Nacogdoches County filed a claim for $354.60 in case number 20-51083.
          The claim shall be paid in full at confirmation. Nacogdoches County shall
          retain all its liens until paid. This claim shall be paid in full on the Effective
          Date.

          d.           Angelina County filed a claim for $2,198.21 in case number 20-
          50805. However, the claim should have been filed in case number 20-51084,
          KrisJenn Ranch, LLC Series Pipeline Row. Angelina County shall retain all its
          liens until paid. This The claim shall be paid in full onupon sale of the Ranch.
          If the Ranch has not been sold as of the Effective Date., then the claim shall be
          paid in equal monthly installments at the statutory rate of interest beginning the
          first day to occur 30 days after the effective date within 60 months of the
          bankruptcy filing date. The Debtors may prepay this claim in full in the
          Debtors’ business judgment. The equity holders reserve the right to pay this
          claim as a contribution of capital to the Debtors.

          e. Shelby County filed a claim for $496.67 in case number 20-50805.
          However, the claim should have been filed in case number 20-51084, KrisJenn
          Ranch, LLC Series Pipeline Row. The claim shall be paid in full on the
          Effective Date. Shelby County shall retain all its liens until paid.

           f.          Except as otherwise stated, all Ad Valorem taxes will be paid in full
          in equal monthly instalments at the statutory rate of interest within 60 months
          of the petition filing date, with the first payment being made on the first day of
          the first month following 30 days after the Plan’s Effective Date. Post-petition
          interest at the rate of twelve percent (12%) per annum shall accrue beginning
          from the Petition Date until the confirmation date. Thereafter, plan interest at
          the rate of twelve percent (12%) per annum shall accrue on the entire balance
          until the tax debt is paid in full. Debtors shall make separate payments on each
          account consistent with separate amortization schedules provided to the
          Debtors. Each separate payment which will be applied pro rata to the various

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                  tax accounts indicated above. In the event Debtors sell, convey or transfer any
                  property which is collateral of a property tax claim or post confirmation tax
                  debt, the Debtors shall remit such sales proceeds first to the applicable property
                  taxing entity to be applied to the respective tax debt incident to any such
                  property/tax account sold, conveyed or transferred. Debtors may pre-pay the
                  pre-petition tax debt to any of the ad valorem taxing entities at any time. The
                  Debtors shall have thirty (30) days from the Effective Date to object to the any
                  property tax claim; otherwise, such claim is deemed as an allowed secured
                  claim in the amount of its Proof of Claim consistent with the treatment of each
                  tax account under this Plan. The taxing entity shall retain its statutory lien
                  securing their pre-petition and post-petition tax debts until such time as the tax
                  debts are paid in full.      Debtors shall pay all post-petition ad valorem tax
                  liabilities (tax year 2019 and subsequent tax years) owing to the taxing entity in
                  the ordinary course of business as such tax debts come due and prior to said ad
                  valorem taxes becoming delinquent without need of any ad valorem taxing
                  entity filing an administrative claim and request for payment. Should Debtors          Formatted: No underline
                  fail to make any payments as required in its respective Plan, the taxing entity
                  shall provide written notice of that default by sending written notice by certified
                  mail to Debtors’ counsel advising of that default, and providing the Debtors
                  with a period of fifteen (15) days to cure the default. In the event that the
                  default is not cured within fifteen (15) days, the taxing entity may, without
                  further order of this Court or notice to the Debtors, pursue all of their rights and
                  remedies available to them under the Texas Property Tax Code to collect the
                  full amount of all taxes, penalties and interest owed. Additionally, the failure
                  to timely pay post-petition and/or post-confirmation taxes while the Debtors are
                  still paying any pre-petition debt, shall be considered an event of default. A
                  Debtors shall be entitled to no more than three (3) Notices of Default. In the
                  event of a fourth (4th) default, the taxing entity may pursue all rights and
                  remedies available to it under the Texas Property Tax Code in state district court
                  without further order of this court or further notice to the Debtors.


                             ARTICLE IV
           TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

       4.01   Claims and interests shall be treated as follows under this Plan:

       Class 1 Claims:

        Class 1 is the impaired secured claim of Mcleod Oil filed in the amount of $6,260,196.08
filed in all three Debtors cases. Duplicate Claims 2,3,4 and 5 in 20-51084, Claim 6 in 20-50805,




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and Claims 2 in 20-5103. The majority of thisallowed claim was satisfied upon sale of the Ranch.
Debtor has agreed to settle this claim for $385,0001. The Claim shall be paid onas follows:

       The Class One Claims are disputed. To the extent the Effective DateClaims demand
payment of principal, interest, attorney fees, late fees and any other costs or fees in accordance
with the Parties’ settlement agreement to be filed withexcess of the loan documents or law, the
Debtors dispute the claim.

       To the extent the Court allows the Class 1 Claims, the Claims will be paid in full within 60
days of the Court entering an unappealable order determining the amount of the claims including
all sums owed pre and post-petition. To the extent Debtors, in their sole business judgment
determine a certain amount is owed to Mcleod Oil that is less than the amount subject to an appeal,
Debtors may pay the lessor amount while the appeal is pending without Debtors or the Mcleod’s
waiving any rights in the appeal.

Unless otherwise provided herein or by the Court, upon receiving payment of the allowed Class 1
claim, Mcleod shall release its liens against all Debtors’ property and the property of any guarantor.

       Mcleod shall maintain all of its liens until it is paid its allowed claim except as provided
herein. Mcleod shall be paid post confirmation interest on its allowed and unsatisfied claim at
4.5%.

        If the remaining sales proceeds from the Uvalde ranch are insufficient to pay the allowed
Mcleod claim, then the remaining claim shall be paid along with the Class 5 general unsecured
claims.

         Mcleod will vote on the plans as an impaired creditorplan.

         Class 2 Claims:

        Class 2 are the claims of DMA Properties, Inc. and Frank Daniel Moore (“DMA”). Claim
5 in 20-50805, Claims 1 and 3 in 20-51083, and Claims 1 and 6 in 20-51084.

        DMA filed in all three cases and also filed as counterclaims in the adversary case 20-05027
claims related to Bigfoot Energy.. The Court awarded damages and attorney’s feeswith a
remaining balance of approximately $47,000. Within 10 days of the effective datefees which are
currently subject to an appeal. After an unappealable order is entered establishing these amounts,
DMA shall file an accounting of what it believes it is still owed pursuant to the Court’s judgment.
If DMA fails to file the accounting, its first be paid from the funds currently held in the state court
registry. To the extent there are not sufficient funds to pay the claim from the state court registry,
the remaining claim shall be deemed $47,000, and it shall be paid this amount within 30 days of
the Effective date. If the accounting is timely filed, Reorganized Debtor shall have 10 days to file
an objection with the Court, otherwise the accounting filed by DMA shall be the allowed claim,
which shall then be paid within 30 days of the Effective date. If the Reorganized Debtor files an
objection to the accounting, the Claim shall be paid within 30 days of entry of a final, unappealable

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  Larry Wright and Gwen Wright are also parties to the settlement transferring 165 acres of their personal mineral
rights as consideration.

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order on the objection. as a general unsecured claim in Class 5. DMA and Frank Daniel Moore
are unimpaired and will not vote on the planplans.

       Class 3 Claims:

      Class 3 is the joint claim of DMA Properties, Inc. (“DMA”) and Longbranch Energy, LP
(“Longbranch”). Claim 7 in 20-50805.

         DMA and Longbranch filed one joint claim related to the adversary action claiming an            Formatted: Underline
interest in the Express Pipeline (as defined in the Disclosure Statement) and other miscellaneous        Formatted: Underline
relief, these claims were all denied through the trial and are subject to an appeal. . As a result,      Formatted: Underline
these claims are being disallowed in their entirety pursuant to the Court’s judgment in case 20-         Formatted: Underline, Font color: Auto
05027 and will not receive any distribution under the Plan. However, if through the appeals
process, DMA and Longbranch are ultimately determined to have an interest in the Express
Pipeline, and in the event the Reorganized Debtor sold or otherwise disposed of the Express
Pipeline during the pendency of the appeal, the value of that interest shall attached solely to the
net profits obtained by the Reorganized Debtor from the sale or operation of the Express Pipe line
after deducting all expenses incurred by the Debtor in any way related to the Express Pipe Line,
including but not limited to, the cost of 1) purchasing the Express Pipeline, 2) maintaining the
Express Pipeline, 3) insurance, 4) professional fees, 5) interest, 6) and developing the Express
Pipeline.

        . To the extent Longbranch or DMA have filed or claimed liens encumbering any of
Debtors’ property, including but not limited to the Express Pipeline, those liens are void and
Debtors may file a copy of the confirmed Plan and Confirmation order with federal,any state or
local government evidencing the liens have been voided.

       Class 3 is unimpaired and does not vote on the plans.                                             Formatted: Font color: Auto


       Class 4 Claims:

       Class 4 are the claims of Longbranch Energy, LP (“Longbranch”). Claim 4 in 20-51083
and Claim 8 in 20-51084.

       Longbranch filed claims related to the adversary action claiming an interest in the Express       Formatted: Underline
Pipeline (as defined in the Disclosure Statement) and other miscellaneous relief, these. These           Formatted: Underline
claims were all denied through the trial and are subject to an appeal. . As a result, these claims are   Formatted: Underline
being disallowed in their entirety pursuant to the Court’s judgment in case 20-05027 and will not        Formatted: Underline
receive any distribution under the Plan. However, if through the appeals process, Longbranch is          Formatted: Underline, Font color: Auto
ultimately determined to have an interest in the Express Pipeline, and in the event the Reorganized
Debtor sold or otherwise disposed of the Express Pipeline during the pendency of the appeal, the
value of that interest shall attached solely to the net profits obtained by the Reorganized Debtor
from the sale or operation of the Express Pipe line after deducting all expenses incurred by the
Debtor in any way related to the Express Pipe Line, including but not limited to, the cost of 1)




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purchasing the Express Pipeline, 2) maintaining the Express Pipeline, 3) insurance, 4) professional
fees, 5) interest, 6) and developing the Express Pipeline..

       To the extent Longbranch has filed or claimed liens encumbering any of Debtors’ property,
including but not limited to the Express Pipeline, those liens are void and Debtors may file a copy
of the confirmed Plan and Confirmation order with federal,any state or local government
evidencing the liens have been voided.

       Class 4 is unimpaired and does not vote on the plans.



       Class 4 is unimpaired and does not vote on the plans.

       Class 5 Claims:                                                                                 Formatted: Underline


       Class 5 is the impaired general unsecured creditor claims. This Class contains the Claim
of Davis, Cedillo & Mendoza, Inc. (“Cedillo”) in the amount of $2,945 (filed as Claim 6 in 20-
51084) and may include Class 1 or Class 2 creditors as described above.

        The Class 5 claims shall be paid up to their allowed claim, pro rata, from the remaining
proceeds of the Uvalde Ranch sale after the Class 1 claim and allowed administrative claims have
been paid in full within 120 days of the Court entering an unappealable order determining the
amount of the Class 1 allowed claims. If there are not sufficient funds from the Uvalde Ranch sale
to pay all general unsecured creditors in full, the Class 5 claims shall be paid within 12 months of
the Court entering an unappealable order determining the amount of the Class 1 allowed claims.
Cedillo shall vote on the plan as the only established Class 5 Creditor.                               Formatted: No underline


       Class 6 Claims:

        Class 6 are the impaired, general unsecured administrative convenience claims scheduled
at $1,000 or less. These claims were all scheduled in Case 20-50805, but none of the creditors
filed claims in any of the Debtors’ cases. The claimants are as follows:




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                           1. C & W Fuels - $1.00

                           2. Granstaff Gaedke & Edgmon PC - $1.00

                           3. Hopper's Soft Water Service - $100.00

                           4. Medina Electric - $1.00

                           5. Texas Farm Store - $1.00

                           6. Uvalco Supply - $1.00

        The Class 6 claims shall be paid in full on the Effective Date. They are unimpaired and
shall not vote on the plan.

       Class 7 Claims:

       Class 7 claim is the general unsecured claim of insider Larry Wright. This claim was
scheduled in Case 20-50805 in the amount of $648,209. Additionally, Larry Wright loaned
$129,446 to the Company

        The Class 7 claim shall be subordinated to all other claims in the bankruptcy except equity
claims. The claim shall be paid in 120 equal monthly installments beginning the 5th year
anniversary of the Effective Date with interest at the judgment rate of interest in effect on the
Effective Date. The claim is deemed unimpaired and shall not vote on the plan.

       Class 8 Claims:

        Class 8 claims are the claims of Debtors’ equity holders. The equity holders shall retain
their membership/ownership interest in each respective Debtors as that membership/ownership
existed prior to the bankruptcy filing.

                                ARTICLE V
                   ALLOWANCE AND DISALLOWANCE OF CLAIMS

        Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed [by a
final non-appealable order], and as to which either: (i) a proof of claim has been filed or deemed
filed, and the Debtors or another party in interest has filed an objection; or (ii) no proof of claim
has been filed, and the Debtors have scheduled such claim as disputed, contingent, or unliquidated.




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Debtors shall file all objections to claims within 60 days of the Confirmation Date except as
provided for in the Disclosure Statement or herein.

        Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
disputed claim unless such claim is allowed by a final non-appealable order or otherwise provided
herein.

       Settlement of Disputed Claims. The Debtors will have the power and authority to settle
and compromise a disputed claim with court approval and compliance with Rule 9019 of the
Federal Rules of Bankruptcy Procedure.

        Disputed claims are not permitted to vote on Debtors’ plan absent approval of the Court to
vote after hearing but disputed claimants may file objections to the disclosure statement and plan.

       The Debtors’ adversary filing in case 20-05027 is deemed to be an objection to the
claims of DMA Properties, Inc., Longbranch Energy, LP, and Frank Daniel Moore, which was
decided by Court Judgment. Debtors contend that the Court’s judgment in the 20-05027 adversary
resolves all issues regarding the claims of DMA Properties, Inc., Longbranch Energy, LP, and
Frank Daniel Moore and have found that none of these parties have a secured interest in any of
Debtors’ assets except the Bigfoot note as discussed in the Disclosure Statement. disclosure
statement. The Debtors reserve the right to have the Bankruptcy Court clarify these issues both in
the Confirmation Order and in future proceedings if needed.

Retention of Jurisdiction.

       The Court will retain jurisdiction as set out in the Plan.

Interests Retained by the Debtors.

        The Debtors are retaining their current ownership interests in their real and personal             Formatted: Right: 0"

property, subject to the secured and unsecured claims of its creditors. Debtors retains any and all
claims or causes of action against any person or entity: (i) to avoid, set aside, or recover any
payment or other transfer made to any person or entity under Section 547, 548, 549, and/or 550 of
the Bankruptcy Code, (ii) to avoid, set aside, or recover any payment or other transfer made to any
person or entity under any applicable State law(s), (iii) to avoid or set aside any Interest of a person
or entity in property under Section 544 of the Bankruptcy Code; (iv) to recover damages against
an officer, director, manager, shareholder, member, or insider for breach of their duties to the
Debtor or their creditors accruing pre or post-bankruptcy filing; (v) to recover damages for any
and all legal or equitable claims against their owners, managers, officers, employees, lawyers,
employees or any other person, including but not limited to claims for breach of contract,
promissory estoppel, conversion, fraud, breach of fiduciary duty, tortious interference, conversion,
defamation, or any other cause of action, regardless of whether the action accrued prior to or after
the bankruptcy filing date.

                                              ARTICLE VI

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                   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        The Debtors are rejecting all prepetition executory contracts not specifically assumed by
court order or as indicated below. Debtors believe all the organizational agreements within their
business entities are not executory; however, to the extent they are found executory, Debtors
assume those agreements.

    Unless the time to file a claim for rejections damages is specifically limited herein or by other
court order, rejections damages must be filed no later than 30 days after the effective date of the
plan.

                                  ARTICLE VII
                     MEANS FOR IMPLEMENTATION OF THE PLAN

         7.01 Continued Corporate Existence. The Debtors shall continue to exist after the
Effective Date as their respective Texas entities, with all the powers of a corporation, partnership,
or limited liability company, as applicable, under applicable law and without prejudice to any right
to alter or terminate such existence (whether by merger or otherwise) under applicable state law.

        7.02 Advance Payment of Claims. Provided Debtors stay current on all payments to
creditors pursuant to the Plan, Debtors may make advance payments on claims in Debtors’
business judgment discretion.

        7.03 Release of the Pipeline Right of Way (ROW). At the Request of the Reorganized
Debtors, any time after Confirmation, and after notice and hearing, if the Court determines there
are sufficient funds to pay any reasonably potential allowed Class 1 Claim, the Court may order
any Class 1 lien released from the ROW provided such funds are deposited into the registry of the
Court or the Reorganized Debtor files a super cedes bond in an amount necessary to satisfy any
reasonably potential allowed Class 1 Claim.

       7.0304 Payments due under the plan shall come from the remaining Uvalde Ranch
proceeds, then monetization of the Pipeline ROW, and then sale of the Thunder Rock Holdings.

                                      ARTICLE VIII                                                      Formatted: Centered
                                   GENERAL PROVISIONS

       8.01      Definitions and Rules of Construction. The definitions and rules of construction
                 set forth in §§ 101 and 102 of the Code shall apply when terms defined or
                 construed in the Code are used in this Plan, and they are supplemented by the
                 following definitions:

       8.01.1    Administrative Claim shall mean any Claim that is defined in Section 503(b) of
                 the Bankruptcy Code as being an “administrative expense” within the meaning of

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            such section and referenced in Bankruptcy Code Section 507(a)(1) including,
            without limitation, the actual necessary costs and expenses of preserving the
            Debtors’ estates and operating the business of the Debtors, including wages,
            salaries, or commissions for services rendered after the commencement of the
            case, compensation for legal and other services and reimbursement of expenses.
            Allowed or awarded under Bankruptcy Code Sections 33(a) or 331, and all fees
            and charges assessed against the estate of the Debtors under title 28 of the United
            States Code

   8.01.2   Allowed Claim or Allowed Interest shall mean a Claim or Interest (a) in respect
            of which a proof of claim or application has been filed with the Bankruptcy Court
            within the applicable period of limitation fixed by Bankruptcy Rule 3001 or (b)
            scheduled in the list of Creditors prepared and filed with the Bankruptcy Court
            pursuant to Bankruptcy Rule 1007(b) and not listed as Disputed Claims or
            contingent or liquidated as to amount, in either case as to which no objection to
            the allowance thereof has been interposed within any applicable period of
            limitation fixed by Bankruptcy rule 3001 or an order of the Bankruptcy Court, or
            this Plan, or as to which any such objection has been determined by an order or
            judgment which is no longer subject to appeal or certiorari proceeding and as to
            which no appeal or certiorari proceedings is pending or as otherwise allowed
            under this Plan. An Allowed Claim may refer to a Secured Claim, a General
            Unsecured Claim, an Administrative Claim or a Priority Claim as the context
            provides.

   8.01.3   Avoidance Actions shall mean those causes of action provided for under Sections
            547 to 551 of the Bankruptcy Code, causes of action under applicable non-
            bankruptcy law for fraudulent transfer or similar legal theories.

   8.01.4   Bankruptcy Code shall mean the Bankruptcy Code, 11 U.S.C. §101 et seq., as it
            existed on the Filing Date

   8.01.5   Bankruptcy Court shall mean the United States Bankruptcy Court for the Western
            District of Texas, San Antonio Division, in which the Debtors’ Chapter 11 case,
            pursuant to which the Plan is proposed, is pending, and any Court having
            competent jurisdiction to hear appeals or certiorari proceedings therefrom.

   8.01.6   Bankruptcy Estate or Estates shall mean all of the assets owned by the Debtors
            and their respective estates.

   8.01.7   Cash shall mean Cash and Cash equivalents including, without limitation, checks
            and wire transfers.

   8.01.8   Claim shall have the meaning given in Section 101 of the Bankruptcy Code, to
            wit, any right to payment, or right to an equitable remedy for breach of
            performance if such breach gives rise to a right to payment, against the Debtors
            in existence on or before the Filing Date, whether or not such right to payment or

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            right to equitable remedy is reduced to judgment, liquidated, unliquidated, fixed,
            contingent, matured, unmatured, disputed, undisputed, legal, legal, secured or
            unsecured whether or not asserted.

   8.01.9   Class shall mean any class into which Allowed Claims or Allowed Interests are
            classified pursuant to Article 4.

   8.01.10 Confirmation Date shall mean the date upon which the Confirmation Order is
           entered by the Clerk of the Bankruptcy Court.

   8.01.11 Confirmation Hearing shall mean the hearing held by the Bankruptcy Court to
           consider confirmation of the Plan.

   8.01.12 Confirmation Order shall mean the order entered by the Bankruptcy Court
           confirming this Plan in accordance with the provisions of Chapter 11 of the
           Bankruptcy Code.

   8.01.13 Creditor shall mean any entity holding a Claim.

   8.01.14 Debtors shall mean KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series
           Uvalde Ranch, and KrisJenn Ranch LLC, Series Pipeline Row

   8.01.15 Disbursing Agent shall mean KrisjennKrisJenn Ranch, LLC.

   8.01.16 Disclosure Statement shall mean the written document filed by the Debtors in
           accordance with Section 1125(b) of the Bankruptcy Code containing information
           sufficient to enable a hypothetical reasonable investor typical of Holders of
           Claims or Interests of the relevant Class to make an informed judgment about this
           Plan.

   8.01.17 Disallowed Claim shall mean any Claim or portion thereof which has been
           disallowed by a Final Order and includes any Claim which is not an Allowed
           Claim for any other reason.

   8.01.18 Disputed Claim shall mean that portion (including, where appropriate, the whole)
           or any Claim (other than an Allowed Claim) that (a) is listed in Debtors’
           schedules of liabilities as disputed, contingent, or unliquidated; (b) is listed in the
           Debtors’ schedules of liabilities and as to which a proof of Claim has been filed
           with the Bankruptcy Court, to the extent the proof of Claim exceeds the scheduled
           amount; (c) is not listed in the Debtors’ schedules of liabilities, but as to which a
           proof of Claim has been filed with the Bankruptcy Court; or (d) as to which an
           objection has been filed and has not become an Allowed Claim.

   8.01.19 Effective Date shall mean fifteen (15)the later of 30 days after entry of a Final
           Order confirming Debtors’ plan of reorganization.



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   8.01.20 Equity Interest shall mean the interests represented by an “equity security” as
           defined in Section 101 of the Bankruptcy Code.

   8.01.21 Executory Contracts shall mean any Pre-petition Unexpired Lease(s) or executor
           contract(s) of the Debtors within the meaning of Section 365 of the Bankruptcy
           Code.

   8.01.22 Filing Date shall mean the date Debtors filed their voluntary petition under
           Chapter 11 of the Bankruptcy Code.

   8.01.23 Final Order shall mean an order or judgment of a Court which has become final
           in accordance with law, and which has not been stayed pending appeal.

   8.01.24 General Unsecured Claim shall mean either (i) a Claim that is not secured by a
           lien, security interest or other charge against or interest in property in which
           Debtors has an interest or which is not subject to setoff under Section 553 of the
           Bankruptcy Code; (ii) a Claim that is not a Secured Claim; (iii) a claim that is not
           an Administrative Claim; (iv) a Claim that is not a Priority Claim; or (v) a Claim
           that is not otherwise entitled to priority under Bankruptcy Code Sections 503 or
           507.

   8.01.25 Holder shall mean the owner or Holder of any Claim or Interest.

   8.01.26 Interest shall mean an Interest (a) in respect to which a proof of interest has been
           filed with the Bankruptcy Court within the applicable period of limitation fixed
           by Bankruptcy Rule 3001 or (b) scheduled in the list of Equity Security Holders
           prepared and filed with the Bankruptcy Court pursuant to Bankruptcy Rule
           1007(b).

   8.01.27 Insider has the definition ascribed to it under the Bankruptcy Code.

   8.01.28 Lien shall mean a “lien” as defined in Section 101(37) of the Bankruptcy Code.

   8.01.29 Net Proceeds shall mean, any cash recovery, the funds remaining after a final
           judgment on an Avoidance Action, net of all legal fees (and/or contingency legal
           fees), costs and expenses of suit. The Net Proceeds, for any non-cash recovery,
           is the amount of cash remaining after the final judgment and recovery of non-
           cash asset is liquidated and the cash proceeds are distributed net of all legal fees,
           costs and expenses of suit. Compromises of Avoidance Actions may include cash
           or benefits to the Debtors or Reorganized Debtors and are not Net Proceeds.

   8.01.30 Person shall mean an individual, corporation, partnership, joint venture, trust,
           estate, unincorporated organization, or a government or any agency or political
           subdivision thereof.




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   8.01.31 Plan shall mean this Chapter 11 Plan, as altered, modified or amended in
           accordance with the terms hereof in accordance with the Bankruptcy Code, the
           Bankruptcy Rules and this Plan.

   8.01.32 Priority Tax Claims shall mean any claim that is defined in Section 507(a)(8) of
           the Bankruptcy Code.

   8.01.33 Professionals shall mean all professional employed in this case pursuant to
           Section 327 or 1103 of the Bankruptcy Code.

   8.01.34 Pro-Rata shall mean the proportion that the Allowed amount of such Claim bears
           to the aggregate amount of Claims in each respective Class.

   8.01.35 Secured Claim shall mean a claim secured by a lien, security interest or other
           charge against or interest in property in which the Debtors has an interest, or
           which is subject to setoff under Section 553 of the Bankruptcy Code, to the extent
           of the value (determined in accordance with Section 506(a) of the Bankruptcy
           Code) of the interest of the Holder of such Claim in the Debtors’ interest in such
           property or to the extent of the amount subject to such setoff, as the case may be.

   8.01.37 Severability. If any provision in this Plan is determined to be unenforceable, the
           determination will in no way limit or affect the enforceability and operative effect
           of any other provision of this Plan.

   8.01.38 Binding Effect. The rights and obligations of any entity named or referred to in
           this Plan will be binding upon, and will inure to the benefit of the successors or
           assigns of such entity.

   8.01.39 Captions. The headings contained in this Plan are for convenience of reference
           only and do not affect the meaning or interpretation of this Plan.

   8.01.40 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
           (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of
           the State of Texas govern this Plan and any agreements, documents, and
           instruments executed in connection with this Plan, except as otherwise provided
           in this Plan.




                             ARTICLE IX
                DISCHARGE AND EFFECT OF CONFIRMATION




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       9.01 Legally Binding Effect. The provisions of this Plan shall bind all Creditors and
Interest Holders, whether or not they accept this Plan. On and after the Effective Date, all holders
of Claims shall be precluded and forever enjoined from asserting any (i) Claim against the
Debtors based on any transaction or other activity of any kind that occurred prior to the
Confirmation Date except as permitted under the Plan; and (ii) derivative claims, including
claims against third parties asserting alter ego claims, fraudulent transfer claims, or any type of
successor liability based on acts or omissions of the Debtors. Notwithstanding this provision,
any derivative claims against third parties shall only be enjoined as follows:

      A.    No Creditor of the Debtors shall be permitted to collect upon any Claims in
any manner other than as provided for in the Plan.

       B.      Affiliate Injunction. A temporary injunction is hereby entered and shall be in
effect as of the Effective Date, prohibiting the commencement or continuation of any action
or proceeding against any affiliate, responsible person, guarantor, officer or director of the
Debtors that otherwise would be liable to such holder of a Claim for payment of such Claim
for any reason whatsoever, or against the property of any of the foregoing persons, so long
as the Reorganized Debtors are not in default of the payment terms of such Claim as
provided herein. Further, the statute of limitations against any guarantor is suspended
during the period the Plan payments are not in default. Notwithstanding the foregoing,
these provisions shall not affect the “responsible person” liability as defined by the
internal revenue code and applicable to the allowed claim of the Internal Revenue Service.

        9.02 Injunction and Discharge. Pursuant to Section 1141(d) of the Bankruptcy Code, upon
the Effective Date, the Debtor shall be discharged from any debt that arose before the date of
such confirmation, and any debt of a kind specified in Section 502(g), 502(h) or 502(i) of the
Bankruptcy Code, whether or not a proof of the Claim based on such debt is filed or deemed filed
under Section 501 of this title; such Claim is allowed under Section 502 of this title; or the Holder
of such Claim has accepted the Plan.. The entry of the Confirmation Order will operate as a             Formatted: Font color: Auto

general resolution with prejudice, as of the Effective Date, of all pending Legal Proceedings, if
any, against the Debtors and their assets and properties and any proceedings not yet instituted
against the Debtors or their assets, except as otherwise provided in the Plan. Except as otherwise
expressly provided in the Plan or the Confirmation Order, all Persons who have held, may have
held, hold, or may hold Claims against the Debtors are permanently enjoined on and after the
Effective Date from (a) commencing or continuing in any manner any action or other proceeding
of any kind against the Debtors or their property, with respect to any such Claim, (b) the
enforcement, attachment, collection or recovery by any manner or means of any judgment,
award, decree or order with respect to any such Claim against the Debtors or their property, (c)
creating, perfecting, or enforcing any encumbrance of any kind against the Debtors or their
property, with respect to such Claim, (d) asserting any right of subrogation of any kind against
any obligation due to the Debtors or the property of the Debtors or the Estates with respect to

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 any such Claim and (e) asserting any right of setoff or recoupment against the Debtors or the
 Estates except as specifically permitted by § 553 of the Bankruptcy Code. Unless otherwise
 provided in the Plan or by order of the Bankruptcy Court, all injunctions or automatic stays
 provided for in these cases pursuant to § 105, if any, or § 362 of the Bankruptcy Code, or
 otherwise, and in existence on the Confirmation Date will remain in full force and effect until
 the Effective Date.

        9.03 Limited Protection of Certain Parties in Interest Neither (a) the Debtors, or any of
 their respective employees, officers, directors, agents, representatives, affiliates, attorneys,
 financial advisors, or any other professional persons employed by the Debtors, nor (b) each
 Professional for the Debtors or any of their employees, officers, directors, agents,
 representatives, affiliates, attorneys, financial advisors, or any other professional persons
 employed by any of them, (the persons identified in (a) and (b), are collectively referred to as
 “Protected Persons”), shall have or incur any liability to any Person or Entity under any theory
 of liability for any act or omission occurring on or after the Petition Date in connection with or
 related to the Debtors, the Chapter 11 Case, or the Estate, including, but not limited to, (i)
 formulating, preparing disseminating, implementing, confirming,               consummating      or    Formatted: Not Expanded by / Condensed by

 administering this Plan (including soliciting acceptances or rejections thereof); or (ii) the         Formatted: Not Expanded by / Condensed by

 Disclosure Statement or any contract, instrument, release or other agreement or document              Formatted: Not Expanded by / Condensed by

 entered into or any action taken or omitted to be taken in connection with this Plan, except          Formatted: Not Expanded by / Condensed by

 for acts constituting willful misconduct, gross negligence, or ultra vires activity and in all
 respects such Protected Persons shall be entitled to rely in good faith upon the advice of counsel.
 In any action, suit or Legal Proceeding by any Person contesting any action by, or non-action
 of any Protected Person as constituting willful misconduct, gross negligence, or ultra vires
 activity or not being in good faith, the reasonable attorneys’ fees and costs of the prevailing
 party will be paid by the losing party and as a condition to going forward with such action, suit,
 or Legal Proceeding at the outset thereof, all parties thereto will be required to provide
 appropriate proof and assurances of their capacity to make such payments of reasonable
 attorneys’ fees and costs in the event they fail to prevail.

    9.04 Continuation of Anti-Discrimination Provisions of Bankruptcy Code. A Governmental
Unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
other similar grant to, condition such a grant to, or discriminate with respect to such a grant
against, the Debtors, or another Person with whom the Debtors have been or are associated or
affiliated, solely because of the commencement, continuation, or termination of the case or
because of any provision of the Plan or the legal effect of the Plan, and the Confirmation Order
will constitute an express injunction against any such discriminatory treatment by a Governmental
Unit.

                                        ARTICLE X
                                     OTHER PROVISIONS


                                                                                                 18
                                                            Exhibit
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                                             DEFAULT

    10.01. Default. Upon default by the Debtors, creditors are required to provide written notice
of such Default to the Debtors and their counsel, The Smeberg Law Firm, PLLC by certified mail,
return receipt requested, and by regular first-class mail, and the Debtors shall have thirty (30) days
from the date of the notice to cure the default. Any defect in such default notice shall toll the
running of the thirty (30) day cure period. Notice of default shall be given to the Debtors and
Ronald Smeberg. If the Debtors fail to cure within the thirty (30) day cure period provided herein,
creditors shall be allowed to foreclose their liens without further notice of hearing before the Court.
The Debtors shall be entitled to three (3) notices of default for each calendar year. On the fourth
(4th) notice of default for a calendar year, creditors shall be allowed to foreclose their liens without
further notice of hearing before the Court, or move to have the case converted to a case under
Chapter 7.


    10.02. Vesting of Estate Property and Effect of Default. On the Effective Date, title to all
assets and properties dealt with by the Plan shall vest in KrisJenn Ranch, LLC, Reorganized
Debtor, free and clear of all Claims and Interests other than any contractual secured claims granted
under any lending agreement, on the condition that Reorganized Debtor comply with the terms of
the Plan, including the making of all payments to creditors provided for in such Plan. If
Reorganized Debtor defaults in performing under the provisions of this Plan and this case is
converted to a case under chapter 7, all property vested in KrisJenn Ranch, LLC and all
subsequently acquired property owned as of or after the conversion date shall re-vest and constitute
property of the bankruptcy estate in the converted case.


                                               Respectfully submitted,

                                               BY: /s/ Larry Wright        _________
                                               Name: Larry Wright, Manager, KrisJenn Ranch,
                                               LLC, KrisJenn Ranch, LLC Series Uvalde Ranch,
                                               KrisJenn Ranch, LLC Series Pipeline Row.

                                               THE SMEBERG LAW FIRM, PLLC

                                               BY:/s/ Ronald J. Smeberg                                    Formatted: Font: Italic
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                                               Ronald J. Smeberg
                                                      4 Imperial Oaks                                      Formatted: Indent: Left: 2.94", First line: 0.06", Tab
                                                                                                           stops: Not at 3.5"
                                                      San Antonio, Texas 78248
                                                      Tel: (210) 695-6684
                                                      Fax: (210) 598-7357
                                                      ATTORNEY FOR DEBTORS




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